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    EXHIBIT 8
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                            THE
      POLL WORKER
                       MANUAL




                      2018 Edition                                  i
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Preface
 This State of Georgia Poll Worker Manual is to be used as a guide for the administration of elec-
                    tions conducted by county election officials for poll workers.

 This manual is not intended to be used as a substitute for the Georgia Constitution, relevant statutes,
 applicable case law, or rules of the State Election Board. Prior to your assigned duties, be sure to col-
 lect county contact information, county information for board members (if applicable), polling place
     information, a county map, a supply list, and any other information provided by your county.

                                          Elections Division
                                      2 MLK Jr. Dr. SE #802 West
                                        Atlanta, Georgia 30334

                                         Phone:(404) 656-2871




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                                                          Biography
Georgia Secretary of State Brian Kemp, a lifelong resident of Athens, is a graduate of Clarke Central High
School and the University of Georgia, where he earned a Bachelor of Science degree in Agriculture.

Brian Kemp has been Secretary of State since January 2010. Among the office’s wide-ranging responsi-
bilities, the Secretary of State is charged with conducting secure, accessible, and fair elections, the regis-
tration of corporations, the oversight and regulation of securities, and the administration of professional
license holders.

Secretary Kemp is committed to utilizing fiscally conservative business principles, implementing technol-
ogy throughout each division, and removing government red tape and regulations that block economic
growth and recovery and job growth. Kemp has implemented many e-government solutions, allowing the
agency to communicate more efficiently with Georgia businesses, reduce the time businesses spend on
paperwork, reduce costs to Georgia’s taxpayers, and make the office more transparent.

Secretary Kemp achieved increased efficiencies throughout his agency by practicing zero-based line item
budgeting and streamlining the agency’s overall workforce. To increase transparency, Secretary Kemp
places both his zero-based budgeting plan and monthly expenditures on the agency website.

As Georgia’s Chief Elections Administrator, Secretary Kemp has restructured delivery of numerous ser-
vices to more closely align with the needs of constituents by digitizing interactions between the agency
and voters and has established Georgia as a national model for election security. The My Voter Page or
“MVP” voter education website allows voters to view their sample ballot, find their early voting locations
and times, find their Election Day polling location, verify their registration status, and much more. Geor-
gia’s military and overseas voters can also use MVP to receive ballots electronically.

Secretary Kemp achieved significant victories for the protection of election security when he filed suit
against the U.S. Department of Justice to obtain preclearance of Georgia’s verification system for new
voter registration applicants, which includes citizenship.

Secretary Kemp also implemented the Stop Voter Fraud website so citizens can report questionable
election-related activity online or by calling the Secretary of State’s Voter Fraud Hotline. Additionally, the
agency’s Investigations Division increased its partnerships with state and local law enforcement to inves-
tigate and prosecute voter fraud.

Finally, Secretary Kemp established the Secretary of State’s Election Advisory Council, comprised of
experienced election officials and leaders from across the state. The Council is tasked with reviewing the
Georgia Election Code and State Election Board Rules and making recommendations that improve and
strengthen Georgia’s election laws and procedures.

Secretary Kemp served in the Georgia State Senate from 2002-2006. Secretary Kemp served in com-
mittee leadership roles, including Chair of Public Safety & Homeland Security and Vice-Chair of Higher
Education.

Secretary Kemp, 55, is married to the former Marty Argo of Athens. They are the proud parents of three
daughters and are actively involved in various school activities with their children and various charities.
The Kemps are active members of Emmanuel Episcopal Church in Athens.

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Thank You
  As the state’s chief elections officer, it’s my responsibility to maintain the security and integrity of
 elections in Georgia. On behalf of my office, the State Election Board, and our county and municipal
                         election officials, thank you for serving as a poll worker.

 Poll workers are essential to the elections process, and we appreciate your willingness to serve your
                 community. We hope that you find this poll worker manual useful.

         As always, if my staff or I can be of service to you, please don’t hesitate to contact us.
                             Again, thank you for serving as a poll worker.




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           Office of Secretary of State Brian P. Kemp
                          214 State Capitol
                       Atlanta, Georgia 30334

                      Phone:(404) 656-2881




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General Info
Qualifications, Conduct, and Training in the Code
           O.C.G.A. § 21-2-92(a)                       election is to be held or of the county in which that
                                                       municipality is located, 16 years of age or over, and
                                                       shall be able to read, write, and speak the English
Poll officers appointed pursuant to Code Sec- language. No poll officer shall be eligible for any
tions O.C.G.A. 21-2-90 and O.C.G.A. 21-2-91 shall nomination for public office or to be voted for at a
be judicious, intelligent, and upright citizens of the primary or election at which the poll officer shall
United States, residents of or otherwise employed serve. No person who is otherwise holding pub-
by the county in which they are appointed or, in lic office, other than a political party office, shall
the case of municipal elections, residents of or oth- be eligible to be appointed as or to serve as a poll
erwise employed by the municipality in which the officer. A parent, spouse, child, brother, sister, fa-




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ther-in-law, mother-in-law, son-in-law, daughter-       special election; provided, however, such training
in-law, brother-in-law, or sister-in-law of a candi-    shall not be required for a special election held be-
date shall not be eligible to serve as a poll officer   tween the date of the general primary and the gen-
in any precinct in which such candidate’s name          eral election. Upon successful completion of such
appears on the ballot in any primary or election.       instruction, the superintendent shall give to each
                                                        poll officer and poll worker a certificate to the ef-
           O.C.G.A. § 21-2-99(a)                        fect that such person has been found qualified to
                                                        conduct such primary or election with the particu-
                                                        lar type of voting equipment in use in that jurisdic-
The election superintendent shall provide
                                                        tion. Additionally, the superintendent shall notify
adequate training to all poll officers and poll
                                                        the Secretary of State on forms to be provided by
workers regarding the use of voting equipment,
                                                        the Secretary of State of the date when such instruc-
voting procedures, all aspects of state and fed-
                                                        tion was held and the number of persons attending
eral law applicable to conducting elections, and
                                                        and completing such instruction. For the purpose
the poll officers’ or poll workers’ duties in con-
                                                        of giving such instructions, the superintendent
nection therewith prior to each general primary
                                                        shall call such meeting or meetings of poll offi-
and general election and each special primary and
                                                        cers and poll workers as shall be necessary. Each
                                                        poll officer shall, upon notice, attend such meet-
                                                        ing or meetings called for his or her instruction.

                                                                    O.C.G.A. § 21-2-99(b)

                                                        No poll officer or poll worker shall serve at
                                                        any primary or election unless he or she shall have
                                                        received instructions, as described in subsection (a)
                                                        of this Code section; shall have been found quali-
                                                        fied to perform his or her duties in connection with
                                                        the type of voting equipment to be used in that juris-
                                                        diction; and shall have received a certificate to that
                                                        effect from the superintendent; provided, however,
                                                        that this shall not prevent the appointment of a poll
                                                        officer or poll worker to fill a vacancy arising on the
                                                        day of a primary or election or on the preceding day.




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Polling Place




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                     Before the polls open, your polling place must have the signs
                     and supplies included in this section.

                     All signs and supplies may be ordered online in the Georgia Elec-
                     tions Supply Store. The Store is for Georgia Election Officials
                     only. It is password protected.




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Polling Place
Polling Place Preparation in the Code
         O.C.G.A. § 21-2-267(a)                     screen, or door in the upper part of the front of
                                                    each compartment or booth so that in the mark-
The governing authority of each county and ing thereof they may be screened from the obser-
municipality shall provide and the superinten- vation of others. A curtain, screen, or door shall
dent shall cause all rooms used as polling places not be required, however, for the self-contained
to be provided with suitable heat and light and, in units used as voting booths in which Direct Re-
precincts in which ballots are used, with a suffi- cording Electronic (DRE) voting units are located
cient number of voting compartments or booths if such booths have been designed so as to ensure
with proper supplies in which the electors may the privacy of the elector. When practicable, every
conveniently mark their ballots, with a curtain, polling place shall consist of a single room, every




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part of which is within the unobstructed view of      when the machine is not occupied by an elector. In
those present therein and shall be furnished with     the case of direct recording electronic (DRE) voting
a guardrail or barrier closing the inner portion of   units, the units shall be arranged in such a man-
such room, which guardrail or barrier shall be so     ner as to ensure the privacy of the elector while vot-
constructed and placed that only such persons as      ing on such units, to allow monitoring of the units
are inside such rail or barrier can approach with-    by the poll officers while the polls are open, and
in six feet of the ballot box and voting compart-     to permit the public to observe the voting without
ments, or booths, or voting machines, as the case     affecting the privacy of the electors as they vote.
may be. The ballot box and voting compartments
or booths shall be so arranged in the voting room       O.C.G.A. § § 21-2-328 and 21-2-375
within the enclosed space as to be in full view of
those persons in the room outside the guardrail       At least one hour prior to the time set to open
or barrier. The voting machine or machines shall      the polls, the voting machines and supplies will
be placed in the voting rooms within the enclosed     be delivered to the polling places in each precinct.
space so that, unless its construction shall other-   The machines will be set up in the proper manner,
wise require, the ballot labels on the face of the    signs, sample ballots and other instructions will
machine can be plainly seen by the poll officers      be posted, and other supplies will be distributed.

                                                                  O.C.G.A. § 21-2-379.7

                                                      Prior to opening the polls, the manager will
                                                      break the seal on each voting unit, turn on each
                                                      unit, certify that each unit is operating proper-
                                                      ly and is set to zero, and print a zero tape certi-
                                                      fying that each unit is set to zero. The manag-
                                                      er shall keep or record this zero certification on
                                                      each unit. At least one voting machine will be
                                                      accessible to disabled electors at each precinct.




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Polling Place
Signs at the Polling Place


        In Each Voting Booth


        Inside Polling Place


        Outside Polling Place
                                                 Voting Instructions




    Required Identification                     Voting Rights Poster




      Card of Instructions                       Notice of Penalties
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These images may not represent the actual notices or signs. As supplies and signs are updated,
                 their appearances may change. These are just examples.




        Sample Ballot (2)                                 Prohibition Notice




  Magnified Ballot Request                        Electors 75 Years & Older (2)




          Vote Here Sign                             No Campaigning Sign (2)
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Polling Place
Signs at the Polling Place




    Handicapped Parking Sign




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                             Polling Place
                                         Forms for the Polling Place




   Oath of Manager                       Oath of Assistant Manager




     Oath of Clerks                            Voter Certificates
                                                                                 STATE OF GEORGIA APPLICATION FOR VOTER REGISTRATION
                                                                                        Fill out the bottom half of this application by following these directions. Print clearly and use blue or black ink.

                                                1.  LEGAL NAME. Your full legal name including any suffix such as Sr., Jr., III, is required on this form.
                                                2.  ADDRESS. Provide residential address. This information is required.
                                                3.  MAILING ADDRESS. If mailing address is different from residential address, complete the mailing address section.
                                                4.  PERSONAL INFORMATION. A telephone number is helpful to registration officials if they have a question about your application. Gender
                                                    and race are requested and are needed to comply with the Voting Rights Act of 1965, but are not mandated by law.
                                                5. VOTER IDENTIFICATION NUMBER. Federal law requires you to provide your full GA Drivers License number or GA State issued ID
                                                    number. If you do not have a GA Drivers License or GA ID you must provide the last 4 digits of your Social Security number. Providing your
                                                    full Social Security number is optional. Your Social Security number will be kept confidential and may be used for comparison with other state
                                                    agency databases for voter registration identification purposes. If you do not possess a GA Drivers License or Social Security number please
                                                    check the appropriate box and a unique identifier will be provided for you.
                                                6.   OATH. Federal law requires that you answer the citizenship and age questions. Read the oath and sign your name. If you cannot complete this
                                                    application unassisted because of physical disability or illiteracy, you must either sign or make your mark on the signature line, and the person
                                                    assisting you MUST sign the signature space for person assisting voter.
                                                7. POLL OFFICER QUESTION. Your willingness to be a poll worker will have no bearing on your application for registration.
                                                8. NAME/ADDRESS CHANGE. Complete these sections to change the name or address of your current voter registration.
                                                9. MAP/DIAGRAM: If you live in an area without house numbers and street names, please include a drawing of your location to assist us in
                                                    locating your appropriate voting precinct.
                                                10. DELIVERY INSTRUCTIONS: Verify that you have completed and signed the application. Enclose a copy of your ID if you are submitting
                                                    this form by mail and registering for the first time in Georgia. Fold the application in half, remove the tape at the top, and press the edges
                                                    together. The application is ready for you to mail (postage is prepaid) or deliver to your county voter registration office.
                                                11. You are NOT officially registered to vote until this application is approved. You should receive a voter precinct card in the mail. If you do
                                                    not receive this acknowledgement within two to four weeks after mailing this form, please contact your county voter registration office. You can
                                                    find your poll location and other election information on the Secretary of State’s website at www.sos.ga.gov/elections.

                                                                     REQUIREMENT:




                                                 Place copy of                                                                                                                                                                                           Trim copy of
                                                 ID in pocket                                                                                                                                                                                            ID to size

                                                                                                                                                                                                                                CHANGE OF ADDRESS


                                                                                                            OFFICE USE ONLY
                                               COUNTY PRECINCT                         MUNICIPAL PRECINCT                        DISTRICT COMBO                   DDS APLICATION NO.             REGISTRATION NO.
                                                                                                                                                                                                                                CHANGE OF NAME
                                                                                                                                                                                                                                OTHER___________________________
                                                     LAST NAME                                                         FIRST NAME                                                       MIDDLE OR MAIDEN NAME                           SUFFIX           Jr.   Sr.   II
                                                1                                                                                                                                                                                                        III   IV    V

                                                     RESIDENCE ADDRESS: House No. and street name                                        APT. NO.          CITY                               COUNTY                      STATE          ZIP CODE
                                                2                                                                                                                                                                            GA.
                                                     MAILING ADDRESS (If different from residence address): Post-office box or route                                             CITY                                     STATE          ZIP CODE
                                                3
                                                     TELEPHONE NUMBER
                                                     TELEPHONE NUMBER                      DATE OF
                                                                                           DATE OF BIRTH:
                                                                                                   BIRTH: MM/DD/YYYY GENDER
                                                                                                          MM/DD/YYYY GENDER                                RACE/ ETHNICITY:
                                                                                                                                                           RACE/ ETHNICITY:
                                                4                                                                               Male         Female          Black      White       Hispanic/Latino
                                                     (           )                                                                                           Asian/Pacific Islander     American Indian       Other________________________________________
                                                     VALID GA. DRIVER’S LICENSE OR GA. I.D. NO.                                                                 FULL SOCIAL SECURITY NUMBER (OPTIONAL)
                                                                                                                                                                                              Last 4 Digits (Required)        Check if you do not have a GA
                                                5                                                           If no GA Driver’s License or GA. I.D. No., must
                                                                                                            provide last 4 digits of your Social Security
                                                                                                                                                                                                                                Driver’s License, GA. I.D. No. or
                                                                                                                                                                                                                                Social Security No.
                                                                                                            Number

                                                                                         (Your answer is required under federal law)
                                                         I SWEAR OR AFFIRM:
                                                         Are you a citizen of the United States of America? Check One:        Yes         No                                      WARNING: Any person who registers to vote knowing that
                                                         Will you be 18 years of age on or before election day? Check One: Yes            No                                      such person does not possess the qualifications required by
                                                                       If you checked “No” in response to either of these questions, do not complete this form.                   law, who registers under any name other than such person’s
                                                         I SWEAR OR AFFIRM THAT:
                                                                                                                                                                                  own name, or who knowingly gives false information in
                                                         I reside at the address listed above.                                                                                    registering shall be guilty of a felony.
                                                6        I am eligible to vote in Georgia.                                                                                        O.C.G.A. § 21-2-561
                                                         I am not serving a sentence for having been convicted of a felony involving moral turpitude.
                                                         I have not been judicially declared to be mentally incompetent.

                                                                                          X
                                                      Date                              Signature                                                                                                   Signature of person helping illiterate or disabled voter
                                                     May we contact you about working as an Election                             CHANGE OF NAME: If you are changing your name, list the name under which you were previously registered:                      Military
                                                                                                                                 Last Name                              Suffix                          First                         Middle or Maiden Name
                                                     Day poll officer? Yes             No                                                                                                                                                                      Active
                                                     If you would like to receive additional information                          CHANGE OF ADDRESS: If you are changing your address or if you were previously registered to vote, list your previous         Duty?




Voter Certificate Binders             Voter Registration Application
                                                7    by email, please provide your e-mail address:                          8     address:
                                                                                                                                                                                                                                                               Yes
                                                                                                                                  CITY                                                       COUNTY                                            STATE
                                                                                                                                                                                                                                                               No




                                                                                                                                                                                                                                                                          10
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Polling Place
Forms at the Polling Place




            DRE Recap Sheet                        ExpressPoll Recap Sheet




     Provisional/Challenged Ballot Recap          Daily Absentee Recap Sheet




       Numbered List of Voters                    Voters with Disabilities Kit
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  Provisional VR Application               Provisional Voter Certificate




Inner Provisional Ballot Envelope         Outer Provisional Ballot Envelope




Provis. Numbered List of Voters
                                                                            12
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Polling Place
Polling Place Preparation on Election Day
6:00 a.m.
Poll Managers and
Assistant Managers Report to
Polling Place


                               Name
                               Badges
                               Provide a name badge for each Poll
                               Official. The badge must be worn at
                               all times.




             Oaths
 Before entering upon duties at
 any primary or election, all poll
 officers shall take and subscribe in
 duplicate to the oaths required.
                                                          Post Signs
 Assistant Manager swears in
                                         Voting Instructions         Sample Ballots (2)
 Manager
                                         Required                    Prohibition Notice
 Manager then swears in the two          Identification
 assistant managers and the clerks                                   Magnified Ballot Request
                                         Voting Instructions
                                                                     Electors 75 Years & Older
 Oaths are signed and placed in the      Voting Rights Poster
 proper envelope                                                     Vote Here
                                         Card of Instructions
                                                                     No Campaigning
                                         Notice of Penalties
                                                                     Handicapped Parking

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                                            DRE Prep
All duties must be performed in full view of the public. Potential voters may watch but are not allowed
to enter the enclosed space or interfere when preparations for opening the polls are in progress.

At no time are the doors to the polling place to be locked so as to exclude any member
of the public from viewing the pre-election preparation, conduct of the election, or the
closeout procedures.

This should be done in assembly line style: while waiting for one Touchscreen unit to get to the proper
screen or finish printing a report, go to the next Touchscreen unit and continue with the opening or
closing procedure.

While conducting the opening procedures, do not remove side privacy panels.

1) One Poll Official reads the instructions
2) One Poll Official follows the instructions as read to them
3) One Poll Official records the necessary information on the Direct Record Electronic Voting Ma-
chine Recap Sheet




                               V.W.D. Kit
                               Attach the Voter With Disability (VWD) to
                               chosen DRE Unit.




                                           Open ExpressPoll
                                           Open ExpressPoll using the Express poll
                                           opening instructions

Set up
Provisional Ballot
Station                                                                               7:00 a.m.
                                                                                      The Poll Manager
A Provisional Ballot Station must be set up in each polling place.                     publicly declares
The manager or assistant manager should attend this station when                     “The poll is open.”
there is a person in the poll being considered for provisional voting.

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Polling Place
Opening Procedure for the Voting Unit
1.    Verify “Before Polls Open SEAL
NUMBER” and “DRE UNIT NUMBER” on Direct Re-
cord Electronic Voting Machine Recap Sheet.


2.     Cut seal and open case. Do not remove side
privacy panels.


3.     Using the key, unlock and remove the printer
cover on the top right side and unlock the security
door on the right side.

4.      Push the RED power button to turn the unit on.

                      The zero report will automatically begin to print.

                                    DO NOT TEAR THE TAPE.

             When the report is finished printing, verify that all counters on the
     report are at zero (0). Remember: the Manager and both assistants must sign ALL
     tapes. If the Count Number on the Touchscreen unit is not zero (0), call your local
                                elections office immediately.


1.     Leaving the Zero Report attached, roll it up and replace and lock the printer cover. Close and
lock the security door.


2.    On the “Need Another Copy” screen, press the
“No” button.


3.     Remove side privacy panels from back cover
and attach both sides to Touchscreen unit.


4.     Press and hold the BLACK button at the top of
the screen to raise the screen.




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           DO NOT PULL THE SCREEN UP TO THE FULL UPRIGHT POSITION.

   IF THE TOUCHSCREEN IS PULLED OUT OF THE SOCKET, REPOSITION BY US-
  ING YOUR THUMB TO DEPRESS THE TAB AND INSERT BACK INTO SLOT. PLACE
                   TOUCHSCREEN AT DESIRED ANGLE.



                                       Do Not Forget
Attach “Voting Instructions” poster to the inside of each Touchscreen unit and withdrawn candidate
information, if applicable.

Electrical Cord Placements - Check to make sure that the power cord that goes from the booth to the
Touch Screen unit located on the left side of the unit towards the back is firmly plugged in.

Attach the VWD (Voters With Disability) kit to one of your Touch Screen units. The plug-ins for the
headphones and the keypad are located on the right side of the Touch Screen unit just in front of
where the security door closes. This allows you to attach or remove the VWD kit without having to
unlock and open the security door.

The VWD kit can be attached to any one of your Touch
Screen units. All units are capable of displaying the au-
dio and/or magnified ballot.

1.	     Plug in the headphone set to the headphone jack
labeled “AUDIO”, and then plug the keypad into the
serial jack (5 prong on top, 4 on bottom) labeled “KEY-
PAD”.

2.	    Place the keypad on the unit behind the screen
until needed.



          This unit can be used by any voter on Election Day when not in use by
                                     a disabled voter.




The instructions outlined on these pages reference the R6 DRE unit. If you are using a different machine, the
       procedures remain the same. However, the location of the physical components are different.
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Election day
Although there is no such thing as a typical election day, this sec-
tion reviews what happens when everything goes as planned.




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                                The flow chart on the following page details the dif-
                                ferent stations a voter visits in a polling place.




                                If assigned to a particular station, know your role
                                and make the poll manager aware of any questions
                                or concerns you may have before the polls open.




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Election day
Voter Flow Chart

                                                      Identification
       Voter
     Enters the
      Polling
       Place
                                                                                ExpressPoll
                         Voter Certificate




Greet the voter with a     Ask if the voter is reg-   Once a voter has         Here the voter’s eli-
smile and direct them      istered in your county     been certified to vote   gibility is checked on
to the appropriate         and qualified to vote      within your election,    the Express Poll touch
station to begin the       in the election. If the    check their identifi-    screen. If they have
voting process.            voter is not qualified     cation to find them in   not voted, they are
                           for this election, a       Express Poll and issue   issued a voter access
                           provisional ballot may     their ballot. Accept-    card (the card they
                           be authorized if cir-      able ID is found in      insert into the DRE
                           cumstances dictate.        O.C.G.A. § 21-2-417.     units), and added to
                                                      Be sure to document      the Numbered List of
                                                      ID on Voter              Voters.
                                                      Certificate.




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                                        Voter Exits the Polling
  Voter Cast                                    Place
    Ballot

                                                                               Provisional
                    Voter Returns Card                                            Ballots*




The voter is then        Once the voter casts      Ensure the voter has     If a voter, for any rea-
directed to the DRE      their ballot, the card    completed their vot-     son, is unable to cast a
touchscreen units.       will pop out of the       ing, returned their      ballot at your polling
They will insert the     machine. The voter        card, and received       station but would like
voter access card into   will return their card    their sticker and then   to be issued a provi-
the machine, make        to the poll worker and    thank them for voting.   sional ballot, they will
their selections for     receive their “I’m a                               fill out their ballot at
each election, and       Georgia Voter” sticker.                            the “Provisional Bal-
select “cast ballot.”                                                       lot Station.” Ensure
                                                                            them that they will be
                                                                            notified if their ballot
                                                                            was counted typically
                                                                            within a week after
                                                                            the election.



                                                                            For more information
                                                                            on Provisional Ballots,
                                                                            please see page 51.


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Entrance
Poll workers must be aware of a few important things whenever
voters begin entering the polling place.




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                        - How should voters with disabilities be accommodated?

                        - What happens if a voter is wearing campaign material?

                        - Can someone take a picture of their ballot?

                        - What are Poll Watchers?


                                 These and other questions are addressed in the fol-
                                 lowing section.




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Entrance
Voters Enter the Polling Place
     Accommodating Voters with                          be admitted into all buildings. DO NOT pet or dis-
           Disabilities                                 tract these Assistance Animals, as they are work-
                                                        ing animals, not pets.
Signs are vital. Directional signs should designate
accessible parking spaces and be visible, especially    If you observe a voter with a disability who needs
those designating handicapped parking spaces, as        assistance, ASK “May I help you in any way?” be-
well as the nearest accessible entrance if it is not    fore rendering assistance. The answer you receive
the main door.                                          should dictate any further assistance.

If the polling place does not have a permanent          Place chairs or benches along a waiting area for
handicapped parking space, designate a hand-            the convenience and comfort of those who may
icapped parking space by placement of a tem-            have difficulty standing in line.
porary “Handicapped Parking Sign”. Make sure
there is wheelchair access to the building, the poll-       Voters with Speach or Hearing
ing place, and the voting booth.                                     Impairment
Always be courteous and respectful. Be consider-        A voter who cannot speak can give their name and
ate of extra time it may take for a person who is       address simply by providing their written name
disabled or elderly to complete the voting process,     and address to the poll worker.
and give unhurried attention to a person who has
difficulty speaking.                                Follow the voter’s cues to determine whether
                                                    speaking, gestures, or writing is the most effective
Always speak directly to the voter, and not to a method of communication.
companion, aide, or sign language interpreter.
Animals that assist people with disabilities should




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If speaking, speak calmly, slowly, and directly to         Campaign Activity or Campaign
the voter. Do not shout. Your facial expressions,           Material at the Pollling Place
gestures, and body movements help in under-                  O.C.G.A. § § 21-2-413 and 21-2-414
standing. Face the voter at all times and keep your
face in full light (not backlit).                       No person, when within the polling place, shall
                                                        electioneer or solicit votes for any political party or
Rephrase, rather than repeat, sentences that the        body or candidate or question, nor shall any writ-
voter does not understand.                              ten or printed matter be posted within the room.

  Voters with Mobility Impairment                       No person whose name appears as a candidate on
                                                        the ballot being voted upon at a primary, election,
Do not push or touch another person’s wheelchair        special primary, or special election, except a judge
or equipment without prior consent. People using        of the probate court serving as the election super-
adaptive equipment often consider the equipment         intendent, shall physically enter any polling place
as part of their personal space. You are also more      other than the polling place at which that person
likely to break a wheelchair or piece of equipment      is authorized to cast his or her ballot for that pri-
with which you are not familiar.                        mary, election, special primary, or special election
                                                        and, after casting his or her ballot, the candidate
 Voting by Electors Over 75 Years of                    shall not return to such polling place until after the
                                                        poll has closed and voting has ceased.
      Age or Older or Disabled
  O.C.G.A. § § 21-2-385.1 and 21-2-409.1                No person shall solicit votes in any manner or by
                                                        any means or method, nor shall any person dis-
On election day between the hours of 9:30 A.M.          tribute or display any campaign material, nor shall
and 4:30 P.M., and also during advance voting           any person solicit signatures for any petition, nor
each elector who is 75 years of age or older or who     shall any person, other than election officials dis-
is disabled and requires assistance in voting, shall,   charging their duties, establish or set up any tables
upon request to a poll officer, be authorized at any    or booths on any day in which ballots are being
primary or election to vote immediately at the next     cast:					
available voting compartment or booth without           					
having to wait in line.                                 					                               (Continued...)




                                                                                                            24
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1.	    Within 150 feet of the outer edge of any 		      	      - Have the poll worker notify the voters of
	      building within which a polling place is         the required identification needed to vote, so that
	      established;                                     they will have it ready to present to the poll worker
2.	    Within any polling place; or                     on the Express Poll.
3.	    Within 25 feet of any voter standing in line 	
	      to vote at any polling place.                   	       - Consider equipping that poll worker with
                                                       an electors list, a portable Express Poll, or a device
“Campaign materials” is defined as any news- that can access MVP so that the poll worker can
paper, booklet, pamphlet, card, sign, parapherna- look up voters in line to ensure that they are at the
lia, or any other written or printer matter referring correct polling location.
to:
A.	      A candidate whose name appears on the 		      	       - If the line is caused by a long ballot or long
	        ballot in a primary or election;              questions on the ballot, consider having sample
B.	      A referendum which appears on the ballot 	 ballots available to pass out to voters in line. The
	        in a primary or election; or                  more prepared they are when they get to the vot-
C. 	     A political party or body which has a nomi	 ing machine, the quicker you will be able to pro-
	        nee or nominees on the ballot in a primary 	 cess them.
	        or election.
                                                       	       - Consider having a clipboard with voter
                      The Line                         certificates on them so that voters in line can begin
                                                       filling out their paperwork.
The voting line is an important component in all
polling places. At each polling place, there should
                                                           Cell Phones and Other Electronic
be a plan to deal with a scenario where there is a
line that is well out the door. Consider the follow-           Devices in the Polling Place
ing questions and options for a well-maintained                       O.C.G.A. § 21-2-413(e)
voting line:
                                                       No person shall use photographic or other elec-
	        - Do you have room for the voters to line up tronic monitoring or recording devices, cameras,
safely around the building?                            or cellular telephones while such person is in a
                                                       polling place while voting is taking place; provid-
	        - O.C.G.A. § 21-2-414(a)(3) states that there ed, however, that a poll manager, in his or her dis-
can be no campaigning withing 25 feet of anyone 	 cretion, may allow the use of photographic devic-
waiting in line to vote. Are you prepared to make es in the polling place under such conditions and
those measurements?                                    limitations as the election superintendent finds
                                                       appropriate, and provided, further, that no pho-
	        - At your busier polling locations where you tography shall be allowed of a ballot or the face of
expect a line, have a designated person to manage 	 a voting machine or DRE unit while an elector is
the line. This person’s focus should be to prepare voting such ballot or machine or DRE unit and no
the voters for the check-in and voting process.        photography shall be allowed of an electors list,
                                                       electronic electors list, or the use of an electors list
	        - Consider giving poll workers a special or electronic electors list.
nametag that says something like “Have a ques-
tion about voting? Ask me.”                                              Poll Watchers
                                                                       O.C.G.A. § 21-2-408
	       - Have the poll worker monitor voters in
line to ensure that they are not actively campaign- A poll watcher is a person named by a political
ing in 	line or wearing something like a campaign party, political body, or candidate who is autho-
t-shirt.                                            rized to enter the enclosed space to observe the
                                                    conduct of an election and the counting and re-
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cording of votes.                                     If a poll watcher persists in interfering with the
                                                      conduct of the election or in violating any of the
(d) Notwithstanding any other provisions of this      provisions of this Code section after being duly
chapter, a poll watcher may be permitted behind       warned by the poll manager or superintendent, he
the enclosed space for the purpose of observing       or she may be removed by such official. Any in-
the conduct of the election and the counting and      fraction or irregularities observed by poll watch-
recording of votes. Such poll watcher shall in no     ers shall be reported directly to the superinten-
way interfere with the conduct of the election,       dent, not to the poll manager. The superintendent
and the poll manager may make reasonable reg-         shall furnish a badge to each poll watcher bearing
ulations to avoid such interference. Without in       the words “Official Poll Watcher,” the name of the
any way limiting the authority of poll managers,      poll watcher, the primary or election in which the
poll watchers are prohibited from talking to vot-     poll watcher shall serve, and either the precinct or
ers, checking electors lists, using photographic or   tabulating center in which the poll watcher shall
other electronic monitoring or recording devices,     serve or a statement that such poll watcher is a
using cellular telephones, or participating in any    state-wide poll watcher. The poll watcher shall
form of campaigning while they are behind the en-     wear such badge at all times while serving as a poll
closed space.                                         watcher.




                                SAMPLE




                                                                                                       26
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Voter
Certificate
All voters must complete a voter certificate and
provide proper identification.




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                               Voter
                      Identification
                                This section details certificate completion and pro-
                                vides examples of proper identification.




                                                                                 28
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Election Day
Voter Certificate
All voters must complete the Voter’s Certificate. Pursuant to O.C.G.A. § 21-2-411, the board of reg-
This requires the voter to provide their name, istrars shall keep the voter’s certificates for at least
current residence address, date of birth, and sig- 24 months.
nature. Encourage the voter to take their time to
complete the certificate in its entirety.

The top of the voter certificate, which details the     For more information about assisting electors,
county and election date, may be prefilled by the       please see page 45 of this manual.
county.

The bottom half of the voter certificate is to be
completed by the poll worker. The poll worker
must always indicate who processed the voter cer-
tificate and the identification that was provided.

If the voter has a physical disability, which prohib-
its the voter from being able to write and/or sign
his or her name, the poll officer should complete
the Voter’s Certificate and state the disability of
the voter. The poll worker will then sign his or her
name in the appropriate space.

If the voter requests assistance, there are spaces
on the front and back of the document that must
be completed.




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                                             Election Day
                                                                         Voter Identifcation
    O.C.G.A. § § 21-2-417 and 21-2-267
                                                         If the voter does not have any of
Except as noted below, all voters are required to
present proper identification to a poll worker at or    these forms of identification, he or
prior to completion of a voter’s certificate at any      she may vote a provisional ballot
polling place and before the voter is admitted to        upon swearing or affirming that
the enclosed space of the polling place. The en- he or she is the person identified in
closed space is that area where a guardrail or bar-               the voter certificate.
rier is constructed and placed so that only such
persons that are inside the rail or barrier can ap-
proach within six feet of the ballot box, the touch- Exception: A voter who registered to vote by
screen units, and all voting stations.                mail, but did not furnish the required identifica-
                                                      tion at that time and is voting for the first time in
            Proper Identification                     this state is required to present either one of the
                                                      six forms of identification listed above or a copy of
Proper identification shall consist of any one of the a current utility bill, bank statement, government
following:                                            check, paycheck, or other government document
	       1.	   A Georgia driver’s license which was that shows the name and address of the voter.
properly issued by the appropriate state agency;
                                                      If a voter does not have one of the six acceptable
	      2.	    A valid Georgia voter identification forms of photo ID, he or she will receive a letter
card or other valid identification card issued by a 	 that outlines their options. A copy of this letter,
branch, department, agency, or entity of the State “To: Georgia Voters – Without Photo ID on Elec-
of Georgia, any other state, or the United States tion Day” should be given to all voters without ID
authorized by law to issue personal identification, before they leave the polling place.
provided that such identification card contains a
photograph of the voter;

	      3.	    A valid United States passport;

	       4.	    A valid employee identification card
containing a photograph of the voter and issued by
any branch, department, agency, or entity of the
United States government, this state or any coun-
ty, municipality, board, authority, or other entity
of this state;

	       5.	   A valid United States military iden-
tification card, provided that such identification
card contains a photograph of the voter; or

	      6.	    A valid tribal identification card con-
taining a photograph of the voter.
                                                                                                        30
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Election Day
Examples of Proper Voter Identification




                                                                                 e
                                                                              pl
                                                                          m
A Georgia driver’s license      A valid Georgia Voter                  Sa
                                                                 A valid Georgia voter iden-
which was properly issued by    Identification Card (VIC)        tification card issued under
the appropriate state agency.   issued under Code Sec-           Code Section 21-2-417.1 or
                                tion 21-2-417.1 or other valid   other valid identification
    An expired Georgia          identification card issued by    card issued by a branch,
 Driver’s License is a valid    a branch, department, agen-      department, agency, or
      ID for voting.            cy, or entity of the State of    entity of the State of Geor-
                                Georgia, any other state, or     gia, any other state, or the
                                the United States authorized     United States authorized by
                                by law to issue personal iden-   law to issue personal identi-
                                tification, provided that such   fication, provided that such
                                identification card contains a   identification card contains a
                                photograph of the elector.       photograph of the elector.




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                                                   e
                e




                                                pl
             pl




                                           m
         m




                                        Sa
      Sa




A valid Georgia voter iden-      A valid Georgia voter identifi-   A valid United States
tification card issued under     cation card issued under Code     passport.
Code Section 21-2-417.1 or       Section 21-2-417.1 or other
other valid identification       valid identification card
card issued by a branch,         issued by a branch, depart-
department, agency, or           ment, agency, or entity of the
entity of the State of Geor-     State of Georgia, any other
gia, any other state, or the     state, or the United States
United States authorized by      authorized by law to issue
law to issue personal identi-    personal identification,
fication, provided that such     provided that such iden-
identification card contains a   tification card contains a
photograph of the elector.       photograph of the elector.




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Election Day
Examples of Proper Voter Identification
                 e




                                                                                    e
              pl




                                                                                 pl
          m




                                                                             m
       Sa




A valid employee iden-             A valid employee identi-
                                                                          Sa
                                                                      A valid employee identi-
tification card containing         fication card containing a         fication card containing a
a photograph of the elector        photograph of the elector and      photograph of the elector and
and issued by any branch,          issued by any branch, de-          issued by any branch, depart-
department, agency, or             partment, agency, or entity of     ment, agency, or entity of the
entity of the United States        the United States government,      United States government, this
government, this state, or         this state, or any county, mu-     state, or any county, munic-
any county, municipality,          nicipality, board, authority, or   ipality, board, authority, or
board, authority, or other enti-   other entity of this state.        other entity of this state.
ty of this state.




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              e




                                                                                e
           pl




                                                                             pl
       m




                                                                         m
    Sa




A valid employee identi-
                                  
                                 A valid United States mil-           Sa
                                                                 A valid tribal identifica-
fication card containing a       itary identification card,      tion card containing a photo-
photograph of the elector and    provided that such identifi-    graph of the elector.
issued by any branch, depart-    cation card contains a photo-
ment, agency, or entity of the   graph of the elector.
United States government, this
state, or any county, munici-
pality, board, authority, or
other entity of this state.




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Election Day
ExpressPoll
                    There are three separate lists of voters at each polling location.


Express poll
                                       ExpressPoll digitally stores registered voter infor-
                                       mation for each county in Georgia. ExpressPoll
                                       allows you to search for voters and check their eli-
                                       gibility for the election. If they have not voted, they
                                       are issued a voter access card (the card they insert
                                       into the DRE units), and added to the Numbered
                                       List of Voters.




Supplemental List
                                       The supplemental list contains the voters that met
                                       the Voter Registration deadline, but did not meet
                                       the deadline for the ExpressPoll bulk upload. Any-
                                       one that is not on ExpressPoll but is on the supple-
                                       mental list is allowed to vote on the DRE machine.
                                       These voters do not need to vote provisionally.
                                       A voter access card is manually created for these
                                       voters.




Paper Back Up list
                                       The paper back up list is a list of all the electors
                                       in your county. If your polling place loses power
                                       or your ExpressPoll unit stops working for some
                                       reason, you do not have to stop processing voters.
                                       This is what the paper list is for.




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                                        Election Day
                                 ExpressPoll 4000 Opening Procedures
 Compare serial and seal
1.
 numbers on ExpressPoll recap sheet
 with equipment. If correct, proceed.



 Open case; remove ExpressPoll units,
2.
 power cord for each unit and the or-
 ange network cord. When handling the
 units, make sure that you lift and carry
 the unit by its base. If the unit is han-
 dled only by the touch screen, you may
 cause the unit to malfunction.




 Attach network cord to both units.
3.
 Plug the barcode scanner into the USB
4.
 port before turning on the ExpressPoll
 unit. 		      	



 Turn battery switch on back of each
5.
 ExpressPoll unit to ON position.




 Attach power cords to units. Make
6.
 sure power cords are plugged into AC
 power outlet.



 When turned on, both units will show
7.
 the Launch screen.




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Election Day
ExpressPoll 4000 Opening Procedures
      On both units, touch the Launch Ex-
 8.   pressPoll button.




      Set the date and time on the units
 9.   when prompted. When finished,
      touch the Clock Time OK Continue
      button on both units.




Election Day
On all ExpressPoll Units
      When the screen pictured appears
 1.   on both units, verify both units show
      a network connection. This is indi-
      cated with two arrows in the bottom
      right corner of each unit. If both
      these arrows are not present on both
      units, power the units off and begin
      the procedures again.




     Record the Voters Marked number
2.   on the ExpressPoll Recap sheet. Both
     units should be showing zero (0).




      At the top of the screen displayed,
 3.   touch the Test and Lists tab.



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 In the center of the screen, touch the
4.
 Updates and Lists tab.




 Select the Numbered List button at the
5.
 bottom of the page.




 Record the number displayed next to
6.
 the Voter Totals on the ExpressPoll re-
 cap sheet. Both units should be show-
 ing zero (0).




 Touch the Close button at the bottom
7.
 of the screen.




        At the top of the screen, touch the
8.                   Open/Close Polls tab.

      Touch the Open Polls button at the
         bottom of the screen displayed.

     The poll status field will update from
                    CLOSED to OPENED.

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Election Day
On all ExpressPoll Units
        Touch the Electors List tab at the top
 9.     of the screen.




         At the next screen, touch the Search
10.      Electors List Create Voter Card
         button.




         The Electors List will be displayed,
11.      and you are ready to search the list.




 The instructions outlined on pages 36-39 reference ExpressPoll 4000 units. If you are using a different ma-
  chine, the procedures remain the same. However, the location of the physical components are different.
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                                             Election Day
                               Using the Barcode Scanner on ExpressPoll
Before beginning a search on ExpressPoll, check       remove his or her driver’s license or identification
the Voter Certificate and make sure it’s complete.    card to provide access to the barcode on the back,
You may locate the voter’s name on the Elector’s      simply locate the voter using the manual look-up
List using ExpressPoll after the review.              process on ExpressPoll.

REMEMBER: Always begin your search                    Helpful hints for using the Barcode
with the Electors’ List set in Precinct
                                                      Scanners
search mode.

Using the Barcode Scanner                             Poll workers must still check pho-
1.	    A search for a voter using the barcode
                                                      to identification to enure it match-
scanner can only be conducted from the search
screen.                                               es the elector pursuant to O.C.G.A.
                                                       §21-2-417. NOTE: Voters may still
2.	    Scan the barcode on the Georgia driver’s         present any valid photo ID. Poll
license or state identification card.                 workers must not ask for a Driver’s
                                                      License or represent that other ID
3.	    If located, the voter’s information will
                                                       is not acceptable. If a voter pres-
be displayed automatically on the ExpressPoll
screen.                                               ents other photo ID, manually look
                                                          up the voter in ExpressPoll.
4.	    If the voter is located by the scan process,
then continue to process the voter access card.       - The two barcodes on the new Georgia driver’s
                                                      licenses (i.e., issued after November of 2009) can
There is no change in the proce-                      throw off the scanner. If you are attempting to
dures for creating a voter access                     scan the barcode on a new driver’s license, you
card and all voters MUST STILL                        should cover the smaller barcode at the top edge
COMPLETE AND SIGN A VOTER                             of the driver’s license with your finger before you
                                                      scan the larger barcode.
CERTIFICATE.
                                                      - Scan the barcode holding the card steady under
5.	   If the voter is not located by the scan
                                                      the straight line of light from the scanner (i.e.,
process, then locate the voter using the manual
                                                      similar to a self check-out at the grocery store,
look-up process on ExpressPoll.
                                                      rather than a credit card swipe machine).
•	      Failure to locate the voter by the barcode
                                                      - You should scan the barcode from 3-6 inch-
scan process simply indicates that the driver’s
                                                      es away from the scanner, and hold the card at
license number does not directly match what is in
                                                      a slight angle to the scanner (this reduces any
ExpressPoll. It does not mean that the voter is not
                                                      “blow back” from glare).
listed in the voter registration system.
                                                      - If the elector is not found in ExpressPoll by
•	     There is no requirement to look up every
                                                      scanning the barcode, simply revert to existing
voter using the scanner. If a voter is unable to
                                                      manual look-up procedures.
                                                                                                        40
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- If an elector wishes to provide an updated driv-     If the scanner does not locate the voter, simply
er’s license number, the elector may complete a        locate the voter using the manual look-up process
voter registration application with the updated        on ExpressPoll.
information.
                                                       Common Errors
- The scanner may not be used for any other pur-
pose than for use with ExpressPoll. Do not “test”      - Do not scan any barcode other than from a
the scanner on barcodes other than on a Georgia        Georgia driver’s license or state identification
driver’s license or identification card. If you scan   card. If you scan a barcode other than from a
a barcode other than on a Georgia driver’s license     Georgia driver’s license or state identification
or state identification card, then the scanner will    card, then the scanner will produce an error con-
produce an error condition which will temporari-       dition which will temporarily disable the barcode
ly disable the scanner.                                scanner. Even if the barcode scanner is in the
                                                       error condition status, you may still locate a voter
- If scanners are used in a precinct, then each        using the manual look-up process on ExpressPoll.
ExpressPoll unit used to check-in voters and cre-      If you create such an error condition, in order to
ate voter access cards should be equipped with a       re-enable the scanner, you must hit “Return to
scanner. It is not recommended that the precinct       Main” on the ExpressPoll screen then return to
operate with only a partial deployment of scan-        the electors list. This action will clear the error
ners.                                                  condition.

- Typically, the scanner functions most effectively    - If a poll worker locates a voter using the manual
in the hands-free capacity, so set up and use the      look-up process, creates the voter access card, re-
scanner in the flex stand provided. The scanner        moves the voter access card, does not hit “Clear”
should be positioned so that it is facing the poll     on the ExpressPoll screen, locates another voter
worker.                                                using the scanner, creates a voter access card,
                                                       removes the voter access card, and then touch-
- In order to save time, voters should be advised      es any of the electors in the list displayed on the
to remove their Georgia driver’s license or state      ExpressPoll screen, the unit will show an error
identification card before approaching the Ex-         condition and reboot. After the reboot process,
pressPoll check-in station.                            the ExpressPoll unit will function normally.
                                                       IMPORTANT: In order to avoid this error
- Refrain from establishing different lines at the     condition, between each search, always
polling place for voters using a Georgia driver’s      touch “Clear” on the ExpressPoll screen.
license or state identification card as their photo
identification. While there may seem to be prac-       - It is critical that you, as the poll worker, con-
tical advantages to such lines, it may give the        firm that the record located via the scanner is the
appearance of treating voters differently at the       voter standing before you. It is possible that an
polling places based on the type of identification     incorrect driver’s license number may be asso-
shown. Remember, the bar code scanners are not,        ciated with a voter (for instance, this can occur
and should not result in, a change in practice or      where an applicant accidentally inverts numbers
procedure as to how voters check-in or vote on         on the voter registration application). If this is the
Election Day.                                          case, touch “Clear” on the ExpressPoll screen and
                                                       locate the voter using the manual look-up process
- Refrain from potentially alarming the voter if       on ExpressPoll. The elector may complete a voter
the scanner does not locate the voter. Do not say,     registration application with his or her correct
“You’re not in the system.” or “It can’t find you.”    Georgia driver’s license number or state identifi-
These statements simply are not true, and may          cation card number.
be misinterpreted by some voters as a statement
from you that the person will not be able to vote.
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- The age of a Georgia driver’s license or state        If V is indicated on the voter’s row, the voter must
identification card may affect the scanner’s ability    provide current and valid identification from one
to read the barcode. The barcode may become             of the six forms of identification prior to voting.
smeared, dirty, or worn over time. If the barcode       NOTIFY THE POLL MANAGER that this
scanner is unable to read the barcode on the first      voter must cast a Provisional Ballot if they
or second attempt, simply locate the voter using        are unable to provide acceptable identifi-
the manual look-up process on ExpressPoll.              cation.

When voter’s name is located: (with                     If a black “X” with a lavender background is in
status of A or I. For other status in-                  the status column, the poll worker is to have the
                                                        voter contact the board of registrars. A poll officer
dicators, see below)
                                                        shall not allow such an individual to cast a ballot
                                                        on a DRE without the poll officer’s first confirm-
Touch the voter’s name to access their full re-
                                                        ing through the board of registrars that such
cord and to begin the process of creating a Voter
                                                        individual is, in fact, a United States citizen. This
Access Card. When the Voter Access Card has
                                                        confirmation can take place by the poll officer re-
been created, the voter’s record will be updat-
                                                        viewing the documentation provided by the voter
ed to show them as voted and the Elector’s List
                                                        if the poll officer has been duly sworn and trained
marked. Mark the Voter’s Certificate on the ap-
                                                        as a deputy registrar. If the board of registrars
propriate line.
                                                        does not or cannot confirm citizenship status, the
                                                        poll officer should allow the voter to cast a provi-
When voter’s name is NOT located:                       sional ballot and notify the poll manager.
If the name cannot be found as it appears on
the Voter’s Certificate, ask the voter if his or her
name could be listed any other way. If the voter
is registered differently, print the name as it is
listed on the Electors’ List onto the Voter’s Certif-
icate.

If the voter’s name is not on the Electors’
List, or cannot be found using Express-
Poll’s statewide registration search capa-
bility, or is not found on a Supplemental
Electors’ List (if provided), notify the Poll
Manager. The voter may be offered a pro-
visional ballot.

Voter is located and has other status
or IDR Indicators

If IDR is indicated on the voter’s row, the voter
must provide current and valid identification
from one of the proper forms of identification
prior to voting. NOTIFY THE POLL MANAGER
that this voter must cast a Provisional Ballot if
they are unable to provide acceptable identifica-
tion. (See additional information in the Provi-
sional Voter section in this guide.)

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Voting
Upon receiving their Voter Access Card, the voter will step to the
appropriate location to cast their ballot.




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                                This section covers the procedures that you must
                                follow if a voter requires assistance when casting
                                their ballot.




                                These procedures are covered in both Title 21 of the
                                Official Code of Georgia Annotated and the Rules of
                                the State Election Board.




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Voting
Assisting Electors in the Code
           O.C.G.A. § 21-2-409                      who shall record such information on the disabled
                                                    elector’s voter certificate showing that such person
(a) No elector shall receive any assistance in vot- provided assistance in voting to such elector.
ing at any primary or election unless he or she is
unable to read the English language or he or she (b)(1) In elections in which there is a federal can-
has a disability which renders him or her unable to didate on the ballot, any elector who is entitled to
see or mark the ballot or operate the voting equip- receive assistance in voting under this Code sec-
ment or to enter the voting compartment or booth tion shall be permitted by the managers to select
without assistance. A person assisting an elector any person of the elector’s choice except such elec-
shall identify himself or herself to a poll worker tor’s employer or agent of that employer or officer




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or agent of such elector’s union.                        tor entitled to receive assistance

 (2) In all other elections, any elector who is en-      to enter the voting compartment or booth with
titled to receive assistance in voting under this        him or her to assist in voting, such assistance to be
Code section shall be permitted by the managers          rendered inside the voting compartment or booth.
to select:                                               No person shall assist more than ten such electors
                                                         in any primary, election, or runoff covered by this
 (A) Any elector, except a poll officer or poll watch-   paragraph. No person whose name appears on the
er, who is a resident of the precinct in which the       ballot as a candidate at a particular election nor
elector requiring assistance is attempting to vote;      the mother, father, grandparent, aunt, uncle, sis-
or                                                       ter, brother, spouse, son, daughter, niece, nephew,
                                                         grandchild, son-in-law, daughter-in-law, mother-
 (B) The mother, father, grandparent, aunt, un-          in-law, father-in-law, brother-in-law, or sister-in-
cle, sister, brother, spouse, son, daughter, niece,      law of that candidate shall offer assistance during
nephew, grandchild, son-in-law, daughter-in-law,         that particular election under the provisions of
mother-in-law, father-in-law, brother-in-law, sis-       this Code section to any voter who is not related to
ter-in-law, or attendant care provider of the elec-      such candidate. For the purposes of this paragraph,
                                                         “related to such candidate” shall mean the candi-
                                                         date’s mother, father, grandparent, aunt, uncle, sis-
                                                         ter, brother, spouse, son, daughter, niece, nephew,
                                                         grandchild, son-in-law, daughter-in-law, mother-
                                                         in-law, father-in-law, brother-in-law, or sister-in-
                                                         law.

                                                                      O.C.G.A. § 21-2-410

                                                         If any elector, before or after entering the vot-
                                                         ing booth, shall ask for instructions concerning
                                                         the manner of voting, a poll officer may give such
                                                         elector such instructions; but no person giving an
                                                         elector such instructions shall in any manner re-
                                                         quest, suggest, or seek to persuade or induce any
                                                         such elector to vote any particular ticket or for any
                                                         particular candidate or for or against any particular
                                                         question. After giving such instructions and before
                                                         the elector closes the booth or votes, the poll officer
                                                         shall retire and the elector shall immediately vote.

                                                         A poll worker may assist a voter with inserting a
                                                         Voter Access Card, bringing up the instruction
                                                         screen, and review instructions with the voter, but
                                                         must leave the booth when the voter touches the
                                                         “START” button.

                                                                    O.C.G.A. § 21-2-413(f)

                                                         All persons except poll officers, poll watchers, per-
                                                         sons in the course of voting and such persons´ chil-
                                                         dren under 18 years of age or any child who is 12
                                                                                                           46
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years of age or younger accompanying such per-
sons, persons lawfully giving assistance to electors,
duly authorized investigators of the State Election
Board, and peace officers when necessary for the
preservation of order, must remain outside the
enclosed space during the progress of the voting.
Notwithstanding any other provision of this chap-
ter, any voter shall be permitted to be accompa-
nied into the enclosed area and into a voting com-
partment or voting machine booth while voting
by such voter’s child or children under 18 years of
age or any child who is 12 years of age or younger
unless the poll manager or an assistant manager
determines in his or her sole discretion that such
child or children are causing a disturbance or are
interfering with the conduct of voting. Children
accompanying a voter in the enclosed space pur-
suant to this subsection shall not in any manner
handle any ballot nor operate any function of the
voting equipment under any circumstances.




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               Election Offenses Involving Operation of the Polls

Poll managers must familiarize themselves with the following sections of the Georgia
Election Code to ensure that unlawful acts or omissions by poll officers do not occur.
		
O.C.G.A. § 21-2-584:	 Refusal or failure of manager to administer oath to poll officer; 		
				                   poll officer acting without being sworn; giving of false certificate 	
				                   as to swear of poll officer.
					
O.C.G.A. § 21-2-587:	 Failure to return memory cards.

O.C.G.A. § 21-2-587:	 Frauds by poll officers.

O.C.G.A. § 21-2-588:	 Premature counting of votes by poll officer.

O.C.G.A. § 21-2-589:	 Willful omissions by poll officers.

O.C.G.A. § 21-2-590:	 Poll officer permitting unregistered or unqualified persons to 	
				                  vote; refusing to permit registered and qualified persons to 		
				                  vote; 	unlawful rendering of assistance.

O.C.G.A. § 21-2-591:	   Poll officers permitting unlawful assistance to voters.

O.C.G.A. § 21-2-592:	 Failure of poll officers to keep record of assisted voters.




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Provisional
Ballots
The procedures for issuing a provisional or challenged ballot are
detailed in the following pages.




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                              Challenged
                                   Ballots
                                Also included are the applicable sections of the
                                Georgia Election Code and the rules of the State
                                Election Board.




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Provisional
Provisional Ballots in the Code
            O.C.G.A. § 21-2-418                          name does not appear on the list of registered
                                                         electors, the person shall be entitled to cast a pro-
                                                         visional ballot in her or her county of residence in
(a) If a person presents himself or herself at a poll-
                                                         this state as provided in this Code section.
ing place, absentee polling place, or registration
office in his or her county of residence in this state
                                                         (b) Such person voting a provisional ballot shall
for the purpose of casting a ballot in a primary or
                                                         complete an official voter registration form and
election stating a good faith belief that he or she
                                                         a provisional ballot voting certificate which shall
has timely registered to vote in such county resi-
                                                         include information about the place, manner, and
dence in such primary or election and the person’s
                                                         approximate date on which the person registered




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to vote. The person shall swear or affirm in writ-  (d) Notwithstanding any provision of this chapter
ing that he or she previously registered to vote in to the contrary, in primaries and elections in which
such primary or election, is eligible to vote in such
                                                    there is a federal candidate on the ballot, in the
primary or election, has not voted previously in    event that the time for closing the polls at a poll-
such primary or election, and meets the criteria    ing place or places is extended by court order, all
for registering to vote in such primary or election.electors who vote during such extended time period
The form of the provisional ballot voting certifi-  shall vote by provisional ballot only. Such ballots
cate shall be prescribed by the Secretary of State. shall be separated and held apart from other pro-
The person shall also present the identification re-visional ballots cast by electors during normal poll
quired by Code Section 21-2-417.                    hours. Primaries and elections in which there is no
                                                    federal candidate on the ballot shall not be subject
(c) When the person has provided the information to the provisions of this subsection.
as required by this Code section, the person shall
be issued a provisional ballot and allowed to cast (e) The registrars shall establish a free access sys-
such ballot as any other duly registered elector tem, such as a toll-free telephone number or Inter-
subject to the provisions of Code Section 21-2-419. net website, by which any elector who casts a pro-
                                                    visional ballot in a primary or election, or runoff of
                                                    either, in which federal candidates are on the bal-
                                                    lot may ascertain whether such ballot was counted
                                                    and, if such ballot was not counted, the reason why
                                                    such ballot was not counted. The registrars shall es-
                                                    tablish and maintain reasonable procedures neces-
                                                    sary to protect the security, confidentiality, and in-
                                                    tegrity of personal information collected, stored, or
                                                    otherwise used by such free access system. Access
                                                    to such information about an individual provision-
                                                    al ballot shall be restricted to the elector who cast
                                                    such ballot.

                                                        (f) At the time an elector casts a provisional ballot,
                                                        the poll officers shall give the elector written infor-
                                                        mation that informs the elector of the existence of
                                                        the free access system required by subsection (e) of
                                                        this Code section by which the elector will be able
                                                        to ascertain if his or her ballot was counted and, if
                                                        such ballot was not counted, the reason why such
                                                        ballot was not counted.

                                                        (g) Failure to establish such free access system shall
                                                        subject the registrars and the county by which the
                                                        registrars are employed to sanctions by the State
                                                        Election Board.

                                                        (h) Notwithstanding any other provision of this
                                                        chapter to the contrary, in the event that the voting
                                                        machines or DRE units at a polling place malfunc-
                                                        tion and cannot be used to cast ballots or some other
                                                        emergency situation exists which prevents the use
                                                        of such equipment to cast votes, provisional ballots
                                                        may be used by the electors at the polling place to
                                                                                                           52
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cast their ballots. In such event, the ballots cast by   for a person while voting a provisional ballot and
electors whose names appear on the electors list         a secure container in which the voted provisional
for such polling place shall not be considered pro-      ballots shall be placed.
visional ballots and shall not require verification
as provided by Code Section 21-2-419; provided,          (4)	 Voters whose names do not appear on elec-
however, that persons whose names do not appear          tors list.
on the electors list for such polling place shall vote
provisional ballots which shall be subject to verifi-  (a)	    When a person arrives at a polling place,
cation under Code Section 21-2-419.                    completes a voter’s certificate, and presents it to
                                                       the poll workers but the person’s name does not
          S.E.B. Rule 183-1-12-.06                     appear on the official electors list for the precinct,
                                                       the poll officers shall immediately direct the per-
(1)	    This rule shall govern the casting of provi- son to the provisional ballot station. At the provi-
sional ballots by voters at primaries and elections sional ballot station, if a master list of registered
in accordance with O.C.G.A. §§ 21-2-418 and 21-2- electors is available, the poll workers shall check
419.                                                   the list to determine if the person is registered at
                                                       a different precinct. If the person’s name appears
(2)	 In each polling place, there shall be estab- on the master list for a different precinct, the poll
lished a location or station in the public area of the workers shall direct the person to the correct pre-
polling place for the purpose of issuing and receiv- cinct.
ing provisional ballots.
                                                       (b)	 If the person’s name is not found on the of-
(3)	 The election superintendent shall pro- ficial list of electors for the precinct or the master
vide each polling place with an adequate supply list, if available, the poll officers shall immediately
of provisional ballots in each ballot style (district contact the registrars and the person shall provide
combination) for the precinct and an inner ballot such information as the registrars may request to
envelope and an outer ballot envelope. The ballot determine if the person is eligible to vote in the
envelopes shall be so designed that the ballot will election. The registrars shall promptly review the
fit within the inner ballot envelope and the inner information provided by the person and shall at-
ballot envelope will fit within the outer ballot en- tempt to determine if the person timely and prop-
velope. The inner ballot envelope shall have print- erly registered to vote.
ed on it the words “Official Provisional Ballot” and
nothing else. The outer envelope shall have plac- (c)	         If the registrars can immediately determine
es for inserting the person’s name, precinct, date that the person timely and validly registered to
and name of election, ballot style (district combi- vote in the primary or election and should be as-
nation), and whether such ballot is a regular pro- signed to the precinct at which the person is pres-
visional ballot, a provisional ballot cast by a vot- ent, the registrars shall authorize the poll officers
er who registered to vote for the first time in this to add the person’s name to the official electors list
state by mail and has not provided the identifica- for the precinct and shall permit the person to vote
tion required by O.C.G.A. §§ 21-2-220 and 21-2- in the same manner as other voters in the precinct
417, or a ballot cast during poll hours extended by vote. When there are multiple ballot styles (district
a court order, or a combination thereof. Primaries combinations) in use in the precinct, the registrars
and elections conducted by counties shall use opti- shall also advise the poll officers which ballot style
cal scan ballots for provisional voting. Optical scan (district combination) should be issued to the per-
absentee ballots shall be acceptable for use as pro- son. The person’s name shall then be added to the
visional ballots. Municipalities shall use the same official electors list for the precinct with a nota-
type of ballots as the municipality uses for mail-in tion of the name of the registrar who authorized
absentee voting. The election superintendent shall such addition. Upon presentation of a properly
also provide a booth for voting provisional ballots completed voter’s certificate and the identification
in the enclosed space which will provide privacy required by O.C.G.A. § 21-2-417, the person shall
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be permitted to vote in the same manner as other         (district combination) should be issued to the per-
voters in the precinct.                                  son.

(d)	 If the registrars can immediately determine         (f)	    If the registrars cannot immediately deter-
that the person timely and validly registered to         mine that the person timely and validly registered
vote in the primary or election but should be as-        to vote in the primary or election; but, from the
signed to a different precinct from the one at which     information presented by the person, the person,
the person is present, the registrars shall direct the   if registered, would be assigned to a different pre-
poll officers to send the person to the appropriate      cinct from the precinct in the county or municipal-
other precinct and the registrars shall notify the       ity at which the person is present, the registrars
officers of such other precinct to add the person’s      shall direct the poll officers to send the person to
name to the official electors list for such other pre-   the appropriate precinct. The registrars shall no-
cinct. When there are multiple ballot styles (dis-       tify the officers of such other precinct to permit
trict combinations) in use in such other precinct,       the person to vote a provisional ballot when such
the registrars shall also advise the poll officers       person arrives at such precinct, completes an of-
at such other precinct which ballot style (district      ficial voter registration form and a provisional
combination) should be issued to the person. The         ballot voter’s certificate, and submits the appro-
person’s name shall then be added to the official        priate identification required by O.C.G.A. § 21-2-
electors list for the other precinct by the poll of-     417. When there are multiple ballot styles (district
ficers of the other precinct with a notation of the      combinations) in use in such other precinct, the
name of the registrar who authorized such addi-          registrars shall also advise the poll officers which
tion. Upon the completion of a voter’s certificate       ballot style (district combination) should be is-
and the submission of the identification required        sued to the person. However, if, in the reasonable
by O.C.G.A. § 21-2-417, the person shall be permit-      exercise of discretion by the registrars or the poll
ted to vote in the same manner as other persons in       workers, there is insufficient time for such person
such other precinct. However, if, in the reasonable      to go to such other precinct before the polls close,
exercise of discretion by the registrars or the poll     the poll workers may allow such person to vote
workers, there is insufficient time for such person      a provisional ballot at the precinct at which such
to go to such other precinct before the polls close,     person is present. In such case, all votes cast by
the poll workers may allow such person to vote a         such person for candidates for whom such person
provisional ballot at the precinct in which the per-     is properly entitled to vote shall be counted and all
son is present. In such case, all votes cast by such     votes cast for candidates for whom such person is
person for candidates for whom such person is            not properly entitled to vote shall be void and shall
properly entitled to vote shall be counted and all       not be counted in accordance with O.C.G.A. § 21-
votes cast for candidates for whom such person is        2-419(c).
not properly entitled to vote shall be void and shall
not be counted in accordance with O.C.G.A. § 21-         (g)	    If the person appears at a precinct in a
2-419(c).                                                county or municipality in which the person does
                                                         not reside, the registrars shall instruct the poll of-
(e)	    If the registrars cannot immediately deter-      ficers to direct the person to contact the registrars
mine that the person timely and validly registered       in the county in which the person resides to deter-
to vote in the primary or election; but, from the        mine in which precinct such person should vote.
information presented by the person, the person,
if properly registered, would be assigned to the         (h)	 If the poll officers cannot get in touch with
precinct at which the person is present, the regis-      the registrars after making a reasonable effort to
trars shall authorize the poll officers to permit the    do so, the poll officers shall be authorized to per-
person to cast a provisional ballot at such precinct.    mit the person to vote a provisional ballot at the
When there are multiple ballot styles (district          precinct without additional authorization from
combinations) in use in the precinct, the registrars     the registrars. In such case, all votes cast by such
shall also advise the poll officers which ballot style   person for candidates for whom such person is
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properly entitled to vote shall be counted and all        (a)	    When a person arrives at a polling place,
votes cast for candidates for whom such person is         completes a voter’s certificate, and presents it to
not properly entitled to vote shall be void and shall     the poll workers but does not have the identifica-
not be counted in accordance with O.C.G.A. § 21-          tion required by O.C.G.A. § 21-2-417 and the per-
2-419(c).                                                 son’s name appears on the official electors list for
                                                          the precinct with a designation that the person
(i)	    Upon receiving authorization to vote a pro-       registered to vote for the first time in this state by
visional ballot, the person shall complete a provi-       mail but has not provided the required identifi-
sional ballot voter’s certificate and an official voter   cation to the registrars as required by O.C.G.A. §
registration form and submit such completed cer-          21-2-220, the poll officers shall immediately direct
tificate and form to the poll officers along with the     the person to the provisional ballot station. At the
appropriate identification required by O.C.G.A.           provisional ballot station, the person shall be per-
§ 21-2-417. The poll officers shall place the name        mitted to cast a provisional ballot at such precinct.
of the person on the numbered list of provision-          When there are multiple ballot styles (district
al ballot voters and issue the person a provision-        combinations) in use in the precinct, the poll of-
al ballot of the style authorized by the registrars       ficers shall issue the appropriate ballot style (dis-
along with an inner ballot envelope and an outer          trict combination) to the person as shown on the
ballot envelope. Before issuing the outer ballot en-      electors list. The poll officers shall place the name
velope to the person, the poll officers shall enter       of the person on the numbered list of provision-
the person’s name, the name of the precinct, the          al ballot voters and issue the person a provision-
date and name of the election, and the ballot style       al ballot of the style authorized by the registrars
(district combination) on the outer envelope. The         along with an inner ballot envelope and an outer
person shall then retire to the provisional ballot        ballot envelope. Before issuing the outer ballot en-
voting booth and vote the ballot. Upon completing         velope to the person, the poll officers shall enter
the ballot, the person shall seal the ballot in the in-   the person’s name, the name of the precinct, the
ner ballot envelope and place the inner ballot en-        date and name of the election, and the ballot style
velope containing the ballot into the outer ballot        (district combination) on the outer envelope. The
envelope and shall seal the outer ballot envelope.        person shall then retire to the provisional ballot
The person shall then return the sealed envelope          voting booth and vote the ballot. Upon completing
to the poll officers.                                     the ballot, the person shall seal the ballot in the in-
                                                          ner ballot envelope and place the inner ballot en-
(j)	    Upon receiving the sealed ballot envelope         velope containing the ballot into the outer ballot
from a person casting a provisional ballot, the poll      envelope and shall seal the outer ballot envelope.
officers shall verify that the information request-       The person shall then return the sealed envelope
ed on the outer ballot envelope is complete, shall        to the poll officers.
mark the appropriate box or boxes to designate
the type of provisional ballot enclosed therein, and      (b)	 Upon receiving the sealed ballot envelope
shall direct the person to place the ballot envelope      from a person casting a provisional ballot, the poll
into the secure container for provisional ballots         officers shall verify that the information request-
which shall be located within the enclosed space          ed on the outer ballot envelope is complete, shall
in the polling place where it can be monitored by         mark the appropriate box or boxes to designate
the poll officers and observed by the public. The         the type of provisional ballot enclosed therein, and
provisional ballot voter’s certificate and voter reg-     shall direct the person to place the ballot envelope
istration form shall be attached together and shall       into the secure container for provisional ballots
be placed in a separate, distinctively marked enve-       which shall be located within the enclosed space
lope which shall be placed in a secure location in        in the polling place where it can be monitored by
the polling place.                                        the poll officers and observed by the public.

(5)	 Voter who registered for first time by mail (c)	  The provisional ballot shall not be count-
but did not provide required identification.     ed unless the voter provides the identification re-
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quired by O.C.G.A. §§ 21-2-220 and 21-2-417 to          provisional ballots which shall be located within
the registrars before the end of the period set by      the enclosed space in the polling place where it can
law for the verification of provisional ballots. Such   be monitored by the poll officers and observed by
identification may be provided to the registrars in     the public.
person or by facsimile transmission or, in the case
of disabled voters, by delivery by a third party.       (c)	    If the voter’s name is not on the electors
                                                        list, the poll workers shall follow the provisions
(6)	 Voters voting during extended polling of this rule for regular provisional balloting under
hours in an election in which federal candidates this rule and, if the voter is authorized by the reg-
are on the ballot.                                      istrars to vote a provisional ballot under the terms
                                                        of this rule, shall also mark the appropriate box on
(a)	    In the event that the polling hours for a the outer ballot envelope to indicate that the ballot
polling place are extended by a court order beyond was issued during extended poll hours.
the normal closing time for a primary, election,
or runoff in which federal candidates are on the (d)	 If the voter’s name is on the electors list but
ballot, all voters who vote after the normal closing registered to vote for the first time in this state by
time for the polling place shall vote by provisional mail and has not provided the identification re-
ballot.                                                 quired by O.C.G.A. § 21-2-220, the poll officers
                                                        shall permit the voter to vote in accordance with
(b)	 Voters whose names appear on the electors the provisions of this rule for first time voters
list and who have the appropriate identification who register for the first time in this state by mail
required by O.C.G.A. § 21-2-417 shall complete a without providing the required identification, and
provisional voter’s certificate and shall be issued shall also mark the appropriate box on the outer
a provisional ballot along with an inner ballot en- ballot envelope to indicate that the ballot was is-
velope and an outer ballot envelope. Such voters sued during extended poll hours.
shall not be required to complete a voter registra-
tion form. It also shall not be necessary to obtain (e)	        The poll officers shall provide each first time
approval from the registrars to issue provisional voter who registered for the first time in this state
ballots to such voters. The poll officers shall place by mail without providing the required identifica-
the name of the person on the numbered list of tion who casts a provisional ballot information on
provisional ballot voters. Before issuing the outer how the voter may provide the registrars with the
ballot envelope to the person, the poll officers shall appropriate identification in order that the voter’s
enter the person’s name, the name of the precinct, ballot may be counted.
the date and name of the election, and the ballot
style (district combination) on the outer envelope. (7)	        Each voter casting a provisional ballot in a
The person shall then retire to a provisional ballot primary, election, or runoff in which federal can-
voting booth and vote the ballot. Upon completing didates appear on the ballot shall be given written
the ballot, the person shall seal the ballot in the in- information explaining how such voter can ascer-
ner ballot envelope and place the inner ballot en- tain if such ballot is counted and, if such ballot is
velope containing the ballot into the outer ballot not counted, the reason why such ballot was not
envelope and shall seal the outer ballot envelope. counted.
The person shall then return the sealed envelope
to the poll officers. Upon receiving the sealed bal- (8)	 The provisional ballot voter’s certificates
lot envelope from a person casting a provisional and voter registration cards may be picked up
ballot, the poll officers shall verify that the infor- during the day by a registrar or deputy registrar for
mation requested on the outer ballot envelope is the purpose of beginning the process of determin-
complete, shall mark the appropriate box to desig- ing the eligibility of the persons to cast provisional
nate that the ballot is an extended poll hours pro- ballots. Before transferring the voter’s certificates
visional ballot, and shall direct the person to place and registration cards to the registrars during
the ballot envelope into the secure container for the day, the poll officers shall note the number
                                                                                                             56
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of certificates and cards being transferred to the superintendent shall also remove the container
registrars. If such voter’s certificates and registra- containing the voted provisional ballots and shall
tion cards are not picked up by the registrars by place such container in a secure location within
the time that the polls close and the last voter has the election superintendent’s office.
voted, the envelope in which the provisional bal-
lot voter’s certificates and voter registration cards (11)	
have been deposited shall be securely sealed and
shall be returned to the election superintendent (a)	          Upon receiving the provisional ballot vot-
with the other materials from the polling place.        er’s certificates and voter registration cards from
                                                        the election superintendent, the registrars shall
(9)	 After the close of the polls and the last voter promptly proceed to determine the eligibility of
has voted, the poll officers shall account for all vot- each person that voted a provisional ballot.
ed provisional ballots, cancelled and spoiled pro-
visional ballots, and unused provisional ballots. (b)	 If the registrars determine that the person
The ballot stubs and unused and spoiled ballots did timely register and is eligible and entitled to
shall then be securely sealed in the container pro- vote in such primary, election, or runoff, the regis-
vided for them by the election superintendent. The trars shall mark on the numbered list of provision-
poll officers shall then proceed to open the secure al ballot voters that the ballot is accepted and shall
container in which the provisional ballots were de- notify the election superintendent of the proper
posited and count the number of voted provision- ballot style (district combination) for the voter.
al ballots contained therein. The poll officers shall
then compare the total number of persons voting (c)	           If the registrars determine that the person
provisional ballots as shown on the numbered list did not timely register to vote for the primary or
of provisional ballot voters with the number of election or is not eligible and entitled to vote in
ballots issued and the number of ballots voted. If such primary or election or if the registrars can-
these numbers do not equal one another, the poll not determine by the close of business on the third
officers shall determine the reason for the incon- business day following the day of the primary,
sistency and shall correct the problem before go- election, or runoff if the voter timely registered
ing further. The poll officers shall seal the voted and was eligible and entitled to vote in such pri-
provisional ballots in a container for transfer to mary or election, the registrars shall mark on the
the election superintendent. The poll officers shall numbered list of provisional ballot voters that the
complete and sign a provisional ballot recap sheet ballot is rejected.
and post one copy of the recap sheet on the door of
the polling place with the election results from the (d)	 Not later than the close of business on the
precinct. The remaining copies of the provisional third business day following the day of the prima-
ballot recap sheet along with the numbered list of ry, election, or runoff, the registrars shall return
provisional ballot voters shall be returned to the to the election superintendent the numbered list
election superintendent with the other election of provisional ballot voters reflecting the accepted
materials from the precinct.                            and rejected provisional ballots.

(10)	 Upon receiving the election materials from        (e)	    The names of those persons whose names
the precincts, the election superintendent shall        are accepted shall be added to the official electors
ensure that the envelope containing the provision-      list. The voter registration cards of those persons
al ballot voter’s certificates and voter registration   whose ballots are rejected on the numbered list of
cards is promptly removed from the other materi-        provisional ballot voters shall be processed by the
als and transferred to the registrars for processing.   registrars and, if found to be eligible and qualified,
In any event, the voter’s certificates and registra-    shall be added to the electors list for future elec-
tion cards shall be transferred to the registrars no    tions.
later than 9:00 a.m. on the day following the day
of the primary, election, or runoff. The election       (f)	   The registrars shall maintain the provision-
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al ballot voter’s certificates for the same period of   entitled to vote. The votes entered on the duplicate
time and under the same conditions as the regular       ballot shall be verified by at least one consolidation
voter’s certificates. Voter registration cards com-     assistant. The completed duplicate ballot shall be
pleted by provisional ballot electors shall be main-    placed in the ballot box with the other provisional
tained for the same period of time and under the        ballots to be counted. The original ballot shall be
same conditions as other voter registration cards.      placed into an appropriate container and retained.

(12)	 Upon receiving the numbered list of pro-        (c)	    After opening all of the outer envelopes and
visional ballot electors from the registrars, the     making all necessary duplicate ballots, the elec-
election superintendent shall prepare to count the    tion superintendent shall then open the inner en-
accepted provisional ballots. The election super-     velopes of the ballots in the ballot box and proceed
intendent shall first compare the precinct desig-     to count the votes in the same manner as absentee
nation and election district information with the     ballots are counted. Upon completing the count,
style of ballot (district combination) cast by the    the election superintendent shall add the provi-
provisional ballot voter.                             sional ballot votes to the other votes cast at the
                                                      polls and by absentee ballot and shall consolidate
(a)	    If the ballot style (district combination) and certify the results of the primary, election, or
voted by the voter was correct, then the election runoff. The provisional ballots and any duplicates
superintendent shall open the outer envelope and shall be retained for the same time period and in
place the inner envelope containing the ballot into the same manner as absentee ballots.
a ballot box.
                                                      (d)	 The rejected provisional ballots shall be
(b)	 If the ballot style (district combination) vot- marked on the outer envelope as “Not Counted”
ed by the voter was not correct, then the election and shall not be opened. The ballots shall be main-
superintendent shall open the outer envelope and tained for the same time period and in the same
note the correct ballot style (district combination) manner as absentee ballots which were returned
on the inner envelope. Each such inner envelope too late to be counted.
shall then be placed in a separate container until
all of the outer envelopes have been opened. The (e)	         The election superintendent shall notify the
outer envelopes shall then be stored in a location registrars of the names of those persons who cast
away from the inner envelopes in a manner such a provisional ballot in the wrong precinct or on an
that the inner envelope and ballot of a voter can- incorrect ballot style (district combination).
not be identified as being the ballot of a particular
voter. The superintendent shall then open each (13)	
such inner envelope and remove the ballot and
shall place a unique identifying number on the (a)	           Upon identifying the rejected provision-
ballot along with the designation of the precinct al ballot electors, the registrars shall proceed
in the nonreflective area at the top of the ballot. promptly to notify each such person by first-class
The election superintendent shall then prepare or mail at the address shown on the provisional bal-
cause to be prepared a duplicate ballot. The dupli- lot voter’s certificate that his or her ballot was not
cate ballot shall be clearly labeled with the word counted because of the inability of the registrars
“Duplicate” and shall bear the name of the pre- to verify that the person timely registered to vote
cinct and the same unique identifying number as or such other proper reason. If the person’s vot-
the original ballot in the nonreflective area at the er registration card was approved, the registrars
top of the ballot. The election superintendent shall shall also notify the person that his or her name
transfer or cause to be transferred to the duplicate will be added to the elector’s list and the person
ballot, in the presence of at least two other consol- will be eligible to vote in future primaries and elec-
idation assistants and in public, only the votes cast tions and that a voter notification or precinct card
by the provisional ballot voter in the races and on will be mailed to the person to provide the voter
the questions to which such voter was eligible and with the correct precinct and election district in-
                                                                                                          58
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formation.

(b)	 Upon receiving notification from the elec-
tion superintendent of the names of persons who
cast provisional ballots in the incorrect precinct or
on the incorrect ballot style (district combination),
the registrars shall notify such persons of their
correct precinct and/or election district informa-
tion. The sending of a voter notification or pre-
cinct card by first-class mail to the address shown
on the voter registration card completed by such
person when voting by provisional ballot shall be
sufficient notice for such voters.

(c)	   If the person’s voter registration is rejected,
the registrars shall notify the person of such rejec-
tion in accordance with O.C.G.A. § 21-2-226(d).

(d)	 In addition, the registrars shall establish a
free access system, such as a toll-free telephone
number or an Internet website, by which voters
who cast provisional ballots in a primary, election,
or runoff in which federal candidates are on the
ballot may ascertain whether their ballots were
counted or, if the ballots were not counted, the
reasons why such ballots were not counted. The
registrars shall establish and maintain reasonable
procedures necessary to protect the security, con-
fidentiality, and integrity of personal information
collected, stored, or otherwise used by such sys-
tem. Access to information about an individual
provisional ballot shall be restricted to the voter
who cast such ballot.




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                         General Reminders

 •	    Make sure the Vote Here sign is at the street for the public to see.

 •	    Make sure the machines are daisy chained.

 •	    Make sure the Provisional Ballot station is set up when the polls 	
 	     open and the ballots are always secured.

 •	    You must open the polls at 7am.

 •	    Do not lock the polling place doors. Always keep the doors un	
 	     locked.

 •	    There are to be three people in the polling place at all times, a 	
 	     Manager and 2 Assistants. If an emergency occurs and someone 	
 	     has to leave, make sure to swear in their replacement.

 •	    The Assistant Manager needs to be ready to step up and assume 	
 	     the role of Manager if something happens to the Manager.

 •	    Remember that the memory cards need to be with two people at 	
 	     all times.

 •	    Make sure you record what time the last voter voted on the recap 	
 	     sheet.

 •	    Remember to post the results tape and the yellow copy of the 	
 	     Provisional/Challenged Recap sheet on the polling place door. 	
 	     Even if the recap of the Provisional/Challenged is zero, you need 	
 	     to record that and post the yellow copy.

 •	    Remember to take the memory cards out of the DRE machines.

 •	    Make sure all machines are sealed at the end of the day.




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Provisional
Situations When a Voter can be Issued a Provisional Ballot




1.                                   2.                                  3.
Person whose name does               Person whose name is not            Voter who registered for
not appear on electors list          on ExpressPoll, the sup-            the first time by mail but
                                     plemental list, or the paper        did not provide required
If a person is not on your Elec-     back up list                        identification
tors List, search the statewide
list to see if the voter is regis-   If a person is not listed on Ex-    If a voter who registered for the
tered in a different precinct. If    pressPoll, the supplemental list,   first time in Georgia by mail
the voter is on the statewide        or the paper back up list, they     and does not supply the prop-
list, but in another precinct, in-   may be issued a provisional         er identification, there will be
form the voter of their assigned     ballot.                             an IDR in the column to the
precinct and then let the voter                                          left of the person’s name on
decide if they would like to go                                          the Electors List. If the voter
to their assigned precinct, or                                           cannot supply the appropriate
vote a provisional ballot.                                               identification the voter must
                                                                         be issued a Provisional Ballot.
                                                                         Please note that an IDR voter is
                                                                         allowed to show other forms of
                                                                         identification in addition to the
                                                                         listed forms of photo ID.




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4.                                                     5.
Voter who is casting a ballot during ex-               Voter who does not have one of the re-
tended poll hours as a result of a court               quired forms of photo ID
order (applies to federal elections only)
                                                       If a voter does not have the appropriate photo
This provision only applies when there is a fed-       identification, he or she should be issued a pro-
eral race on the ballot.                               visional ballot and instructed that the ballot will
                                                       be counted only if the voter provides the proper
In the event that the time for closing the polls       identification to the registrar’s office not later
at a polling place is extended by court order, all     than three days following the day of the primary,
electors who vote during such extended time            election, or runoff.
period shall vote by provisional ballot only. The
Elections Superintendent will notify you in the
event this occurs.



6.                                                     7.
Voter who is assigned to a different pre-              Challenged elector appears at the polling
cinct                                                  place to vote

If an elector’s name appears on the master elec-       If an elector has been challenged and appears at
tors list in your county but the voter is not at the   the polls to vote prior to the challenge hearing or
correct precinct and there is insufficient time for    decision, the elector shall be permitted to vote
the voter get to the correct precinct before the       by casting a challeged ballot on the same type of
polls close, a provisional ballot may be cast.         ballot used for provisional ballots. Use the code
                                                       “CHAL.”

Inform the voter that all votes cast for candidates
for whom the voter is properly entitled to vote
shall be counted and all votes casts for candi-
dates for whom the voter is not entitled to vote
shall be void.


                            8.
                            IDR is in the ExpressPoll record or elec-
                            tors list and the voter cannot supply the
                            appropriate ID (IR)
                            When IDR is marked beside an elector’s name in
                            the ExpressPoll Record or the Electors List and
                            the voter cannot supply the appropriate ID, the
                            voter may vote provisional but must bring the
                            appropriate ID to the registrar’s office not later
                            than three days following the day of the primary,
                            election, or runoff.

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Provisional
Provisional Ballot Codes




PI                              PR                                IR
Registered voter who does not   Person believing that he or she   Voter who registered for first
have photo ID to present at     has timely registered to vote     time by mail but did not pro-
time of voting                  but whose name does not ap-       vide required identification
                                pear on electors list




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EH                                                    X
Voter who is casting a ballot during extended         Voter who registered for the first time in Georgia
poll hours as a result of a court order (applies to   but did not provide proof of citizenship
federal elections only)




OP                                                    V
Out of Precinct                                       Person who did not verify




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Provisional
Provisional for Issuing a Provisional Ballot
      Ask voter to complete
 1.   the Provisional section
      of the Voter Certificate
      (Salmon colored).
                                         Print voter’s name, precinct number,
      Voters listed as PR
      must also complete a
                                    3.   ballot style number, and the date
                                         and name of election on the outer
      Voter Registration Ap-             Provisional Ballot Envelope. Note
      plication.                         appropriate code on Provisional
                                         Envelope and Provisional Voting
                                         Certificate.




            Ensure that the forms                             Write the voter’s name on the Provi-
     2.     are complete.                              5.     sional Numbered List of Voters
                                                              and note appropriate code in the
                                                              PROVISIONAL CODE column
                                                              and BALLOT STYLE in the appro-
                                                              priate column.


                                               Ask voter to provide Photo ID (un-
                                     4.        less reason for voting is Iden-
                                               tification Required – IR or PI).
                                               Initial the form in the proper space.




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                                                                                                 10.
                                                                      Be sure to check that the appro-
        Give the Provisional Ballot to the vot-                       priate box in the top left corner of
6.      er and write the ballot number on the                         Numbered List of Provisional
        Provisional Voter Certificate in                              Voters has been marked to indi-
        the space provided.                                           cate the type of election.




                                 After the voter has cast the provisional ballot, provide the vot-
                         8.      er with written contact information so the voter will be able
                                 to determine whether the ballot was counted and, if the ballot
                                 was not counted, the reason why such ballot was not counted.
                                 If a federal candidate is on the ballot, the contact information
                                 provided to the voter must include a free access system, such
                                 as a toll-free telephone number or an internet website, to re-
                                 ceive such information.




                                                  all of the VOTED Provisional Ballots in the
                                          9.Place
                                            PROVISIONAL BALLOT CONTAINER. Place
                                                  the Numbered List of Provisional Voters and
                                                  Provisional Recap Sheet in
                                                  the proper envlope.

                                                  Remember: you must fill out a Provisional
                                                  Recap Sheet and Numbered List of Provi-
                                                  sional Voters for persons that vote Provi-
                                                  sional Ballots.
   7.
Hand voter the ballot and both Official Provisional Ballot En-
velopes. Instruct the voter to go to the Provisional Ballot Booth
to vote the ballot by filling in the ovals next to the candidate or
answer of his or her choice. When finished voting, the voter
will fold and insert the ballot into the inner Provisional Ballot
Envelope and seal, then, insert that envelope into the outer
salmon-colored envelope and seal. The voter will then insert
the ballot in the Provisional Ballot Container.




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                                           Provisional
                                Note Regarding Proof of Citizenship




           With respect to Voter Registration Applicants who do
              not provide proof of citizenship before voting;

           If a black “X” with a lavender background is in the status col-
           umn in ExpressPoll, the poll worker is to have the voter con-
           tact the board of registrars. A poll officer shall not allow such
           an individual to cast a ballot on a DRE without the poll offi-
           cer’s first confirming through the board of registrars that such
           individual is, in fact, a United States citizen. This confirma-
           tion can take place by the poll officer reviewing the documen-
           tation provided by the individual if the poll officer has been
           duly sworn and trained as a deputy registrar. If the board of
           registrars does not or cannot confirm citizenship status, the
           poll officer should allow the individual to cast a provisional
           ballot and shall provide the individual with written contact
           information so the individual will be able to determin wheth-
           er the ballot was counted and, if the ballot was not counted,
           the reason why such ballot was not counted. The poll officer
           should notifiy the poll manager that the individual must cast a
           provisional ballot.




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Challenged
Challenged Ballots in the Code
            O.C.G.A. § 21-2-230                         polling place or, if such elector cast an absentee
                                                        ballot, prior to 5:00 P.M. on the day before the
(a) Any elector of the county or municipality may       election; provided, however, that challenges to
challenge the right of any other elector of the coun-   persons voting by absentee ballot in person at the
ty or municipality, whose name appears on the           office of the registrars or the absentee ballot clerk
list of electors, to vote in an election. Such chal-    whose vote is cast on a DRE unit must be made
lenge shall be in writing and specify distinctly the    prior to such person’s voting.
grounds of such challenge. Such challenge may be
made at any time prior to the elector whose right       (b) Upon the filing of such challenge, the board of
to vote is being challenged voting at the elector’s     registrars shall immediately consider such chal-




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lenge and determine whether probable cause              absentee ballot and does not appear at the poll-
exists to sustain such challenge. If the registrars     ing place to vote and if the challenge is based on
do not find probable cause, the challenge shall         grounds other than the qualifications of the elector
be denied. If the registrars find probable cause,       to remain on the list of electors, no further action by
the registrars shall notify the poll officers of the    the registrars shall be required.
challenged elector’s precinct or, if the challenged
elector voted by absentee ballot, notify the poll of-(e) If the challenged elector cast an absentee ballot
ficers at the absentee ballot precinct and, if prac- and it is not practical to conduct a hearing prior to
tical, notify the challenged elector and afford such the close of the polls and the challenge is based upon
elector an opportunity to answer.                    grounds other than the qualifications of the elector
                                                     to remain on the list of electors, the absentee ballot
(c) If the challenged elector appears at the polling shall be treated as a challenged ballot pursuant to
place to vote, such elector shall be given the op- subsection (e) of Code Section 21-2-386. No further
portunity to appear before the registrars and an- action by the registrars shall be required.
swer the grounds of the challenge.
                                                     (f) If the challenged elector does not cast an absen-
(d) If the challenged elector does not cast an tee ballot and does not appear at the polling place
                                                     to vote and the challenge is based on the grounds
                                                     that the elector is not qualified to remain on the list
                                                     of electors, the board of registrars shall proceed to
                                                     hear the challenge pursuant to Code Section 21-2-
                                                     229.

                                                        (g) If the challenged elector cast an absentee ballot
                                                        and the challenge is based upon grounds that the
                                                        challenged elector is not qualified to remain on the
                                                        list of electors, the board of registrars shall proceed
                                                        to conduct a hearing on the challenge on an expe-
                                                        dited basis prior to the certification of the consoli-
                                                        dated returns of the election by the election super-
                                                        intendent. The election superintendent shall not
                                                        certify such consolidated returns until such hearing
                                                        is complete and the registrars have rendered their
                                                        decision on the challenge. If the registrars deny the
                                                        challenge, the superintendent shall proceed to cer-
                                                        tify the consolidated returns. If the registrars up-
                                                        hold the challenge, the name of the challenged elec-
                                                        tor shall be removed from the list of electors and
                                                        the ballot of the challenged elector shall be rejected
                                                        and not counted and, if necessary, the returns shall
                                                        be adjusted to remove any votes cast by such elec-
                                                        tor. The elector making the challenge and the chal-
                                                        lenged elector may appeal the decision of the regis-
                                                        trars in the same manner as provided in subsection
                                                        (e) of Code Section 21-2-229.

                                                        (h) If the challenged elector appears at the polls to
                                                        vote and it is practical to conduct a hearing on the
                                                        challenge prior to the close of the polls, the regis-
                                                        trars shall conduct such hearing and determine the
                                                                                                          70
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merits of the challenge. If the registrars deny the       and the ballot of the challenged elector shall be
challenge, the elector shall be permitted to vote in      rejected and not counted and, if necessary, the re-
the election notwithstanding the fact that the polls      turns shall be adjusted to remove any votes cast by
may have closed prior to the time the registrars          such elector. The elector making the challenge and
render their decision and the elector can actual-         the challenged elector may appeal the decision of
ly vote, provided that the elector proceeds to vote       the registrars in the same manner as provided in
immediately after the decision of the registrars. If      subsection (e) of Code Section 21-2-229.
the registrars uphold the challenge, the challenged
elector shall not be permitted to vote and, if the
challenge is based upon the grounds that the elec-
tor is not qualified to remain on the list of electors,
the challenged elector’s name shall be removed
from the list of electors.

(i) If the challenged elector appears at the polls
to vote and it is not practical to conduct a hearing
prior to the close of the polls or if the registrars
begin a hearing and subsequently find that a de-
cision on the challenge cannot be rendered within
a reasonable time, the challenged elector shall be
permitted to vote by casting a challenged ballot on
the same type of ballot that is used by the county
or municipality for provisional ballots. Such chal-
lenged ballot shall be sealed in double envelopes
as provided in subsection (a) of Code Section 21-
2-419 and, after having the word “Challenged,”
the elector’s name, and the alleged cause of the
challenge written across the back of the outer en-
velope, the ballot shall be deposited by the person
casting such ballot in a secure, sealed ballot box
notwithstanding the fact that the polls may have
closed prior to the time the registrars make such a
determination, provided that the elector proceeds
to vote immediately after such determination of
the registrars. In such cases, if the challenge is
based upon the grounds that the challenged elec-
tor is not qualified to remain on the list of electors,
the registrars shall proceed to finish the hearing
prior to the certification of the consolidated re-
turns of the election by the election superinten-
dent. If the challenge is based on other grounds,
no further action shall be required by the regis-
trars. The election superintendent shall not cer-
tify such consolidated returns until such hearing
is complete and the registrars have rendered their
decision on the challenge. If the registrars deny
the challenge, the superintendent shall proceed to
certify the consolidated returns. If the registrars
uphold the challenge, the name of the challenged
elector shall be removed from the list of electors
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Challenged
Procedure for Issuing a Challenged Ballot
      Verify that the voter has signed
 1.   the Voter’s Certificate.


                           Write “Challenged” on
                   3.      the bottom of the
                           Provisional Section of the
                           Voter’s Certificate.




          Verify that the voter completed the
     2.   Provisional Voter Section on the
          back of the certificate.




                   On the Official Provisional
                   Ballot, you must:
                                                 - Write the voter’s name
                   - Mark the type of            and your precinct name or
           4.      election.                     code.

                   - Write “CHALLENGED”          - Add the ballot style or
                   as big as possible on the     district combo on the bal-
                   bottom of the colored         lot to be issued.
                   section.
                                                 - Write today’s date and
                                                 time.
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              While the voter is voting:
      6.      a)	   Write the ballot stub number on the 	
              	     Voter’s Certificate.
              b)	   On the Numbered List of Provisional 	
              	     Voters write:
              	     1)	    The voter’s name
              	     2)	    The code “CHAL”
              	     3)	    The District Combo, numbering 	
              		           each voter sequentially
              c)	   Place the Voter’s Certificate on the pro	
              	     visional spindle/binder.


                             When finished voting, the
                    7.       voter drops the sealed salm-           9.       Hand the Voter an
                                                                             “I Voted” sticker and thank
                             on ballot envelope into the
                             orange Provisional Ballot                       the voter for voting.
                             Bag.




                                                  Hand the voter the about the challenged
                                         8.       ballot information sheet.




5.
Issue the correct optical scan ballot for the voter’s District Combo. Detach the ballot from the pad,
leaving the stub attached to the pad. Give the voter the following instructions:

a. “Take the ballot to the voting booth. Vote your ballot by filling in the ovals next to the candidate
or question of your choice.”

b. “Fold your ballot to fit into the white envelope.”

c. “Put your ballot into the smaller white envelope and seal it. Put that envelope into the larger salm-
on envelope and seal it. Put only the voted ballot into the salmon Provisional Ballot Envelope.”


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Close of Polls
                          The Georgia Code mandates that the polls close at 7:00 PM East-
                          ern Sandard Time or Eastern Daylight Time.


                          This does not apply to the municipal elections for the
                          City of Atlanta, pursuant to O.C.G.A. § 21-2-403.




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                                This section reviews the procedures for closing the
                                polls.

                                Also provided in this section, you will find the pa-
                                perwork you must fill out before you leave the poll-
                                ing place.




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Close of Polls
Declaring the Close




                                       7:00 PM

             At 7:00 PM, the Poll Manager publicly declares, “The poll is
             closed.” Any voter(s) in line at 7:00 PM must be allowed to
             vote. Position a Poll Officer at the end of the line to ensure
             that anyone arriving after 7:00 PM is NOT allowed to vote.
             However, poll hours may be extended upon court order.




             This does not apply to the municipal elections for the
             City of Atlanta, pursuant to O.C.G.A. § 21-2-403.




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                      O.C.G.A. § 21-2-379.11

      After the polls have closed and all voting in the precinct has
      ceased, the poll manager shall shut down the DRE units and
      extract the election results from each unit.




       Prior to shutting down the Touchscreen units, re-
      cord the “After Polls Close COUNT NUMBER” on the
               Express Poll Recap and the Direct
           Record Electronic Voting Machine Recap.




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Close of Poll
Closing Procedure for the Voting Unit
      Verify the Touchscreen unit Num-
 1.   ber and record the After Polls
      Close COUNT NUMBER from each
      Touchscreen unit on the correct line
      of the Direct Record Electronic Vot-
      ing Machine Recap Sheet.




      Open the sealed envelope contain-
 2.   ing your Supervisor Card. Insert the
      Supervisor Card. Enter the pass-
      word. The password will appear as
      asterisks on the screen.Touch the
      OK button.




      Remove the Supervisor Card when
 3.   prompted. This screen should
      appear.




      Press End Election. You will see this
 4.   warning.


      Press OK and proceed.




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     Unlock and remove the printer cover.
5.
     When the “Print Write-in candi-
     dates?” screen appears, touch the
     YES box.
     Note: In a Primary Election, or if no
     Write-in votes were cast on this par-
     ticular machine, this option will not
     be given and proceed to the next step




     When the
6.   “PRINT LONG REPORT?” Screen
     appears, press no.




     When printing is finished and the
7.   screen reads “NEED ANOTHER
     COPY?”, press YES twice.

     You will have (3) tapes for each unit
     when finished, (1) with zero’s and (2)
     without.




     When the screen reads NEED AN-
8.   OTHER COPY?, press NO. Turn the
     Unit Off.

     Remove the memory card and repeat
     the above steps on each unit.




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Close of poll
ExpressPoll Closing Procedures
      Touch the Return to Main button.
 1.

      At the top of the screen, touch the
 2.   Test and Lists tab.




      In the center of the screen, touch the
 3.   Updates and Lists tab.




      Touch the Numbered List button at
 4.   the bottom of the page.




     Record the number displayed next
 5.  to Voter Totals on the ExpressPoll Re-
     cap sheet. Both units should be show-
     ing the same number.




      Touch the Close button at the bottom
 6.   of the screen.




      At the top of the screen, touch the
 7.   Open/Close Polls tab.



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     Touch the Close Polls button at the
8.   bottom of the screen. The poll status
     field will update from OPENED to
     CLOSED.



     Record the Voters Marked number
9.   on the ExpressPoll Recap sheet. Both
     units should be the same.




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Close of Poll
On all ExpressPoll Units
      Remove the AC power cord from the
 1.   units.


      Turn the battery switch on the back
 2.   of the unit to the OFF position. The
      unit will now be off.




      Remove the orange network cord
 3.   from both units. (If you cannot re-
      move the orange cord, leave the cord
      attached to both units.)




      Unplug the bar code scanner and
 4.   store appropriately.



      Place AC cords, orange network
 5.   cords, and the units in the case.
      When handling the units, make sure
      that you lift and carry the unit by its
      base. If the unit is handled only by
      the touch screen, you may cause the
      unit to malfunction.




      Close and seal the case.
 6.
      Record the closing seal number for
 7.   the case on the ExpressPoll Recap
      sheet.



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                                Remember

               When closing the polls, please remember to:

      1. Print precinct number in precinct block or line on Voter’s
      Certificate binder cover.

      2. Stack the Voter’s Certificates in the binder in lots of 100.

      3. Place binders of 100 Voter’s Certificates in envelope
      provided.




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Paperwork
                          After the last voter exits the polling place, you may complete the
                          appropriate paperwork.




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                                There are three types of forms that must be com-
                                pleted on election night: the ExpressPoll Recap
                                Sheet, the Direct Record Electronic Voting Machine
                                Recap Sheet, and the Provisional Ballot Recap
                                Sheet.




                                These forms are completed before the polls open
                                and after the polls close.




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Paperwork
Completing the ExpressPoll Recap Sheet
      Write the election date and precinct name at the top of the sheet.
 1.

      Complete the blanks detailing the case serial numbers, red
 2.   opening seal numbers, and the unit serial numbers.




      Clearly fill out the remaing blanks on the sheet.
 3.




      The manager and assistant manager must then sign and date
 4.   the form.




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Paperwork
Completing the DRE Voting Machine Recap Sheet
Section A
        Prior to shutting down the Touchscreen units,
 1.     record the “After Polls Close COUNT NUMBER”.
        Once all tapes are run and the Memory Cards
 2.     removed, turn off Touchscreen unit and close and lock both
        compartments. Close lid and record the “After Polls Close SEAL
        NUMBER”. Write Seal Number in the appropriate column.

Section B
        Total all unit count numbers and record on this line.
 3.
Section C
        Enter numbered lists of voters for ExpressPoll and Supplement
 4.     and enter the number of voter certificates. Enter the numbers for
        either the Democratic and Republican Primary or General/Special
        eleciton. Total all the numbers for each category.

Section D
         Line 1: Enter the total number voting from the top of the first
 5.      printed results from the accumulator of the Accumulator Results
         Tape.

         If NOT ACCUMULATING in the precinct, total each vote cast
         from the results tape on line 1.
         Line 2: Enter the total number voting from the Numbered List of
 6.      Voters (as noted on ExpressPoll).
         Line 3: Enter the total number marked from the Electors’ List
 7.      (ExpressPoll).
         Line 4: Enter the total number of completed voter certificates.
 8.
     If Line 1, 2, 3, and 4 Do Not Equal, Write Explanation on line Provided
           The Manager and both Assistant Managers must sign and date the
 9.        form.
           PLACE COMPLETED RECAP SHEETS IN THE PROPER
10.        ENVELOPE.
           Secure Touchscreen units at Polling Place for pick-up or return
11.        Touchscreen units as directed by your local elections office.
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Paperwork
Completing the Provisional Ballot Recap Sheet
         Note: Even if you have no provisional ballots, you must complete a
                 Provisional Ballot Recap showing zeros on A - H.

 1.   Complete the information at the top of the form.
      Remove the provisional voted ballots from the secure, sealed Pro-
 2.   visional Ballot container.
      Count and enter this number on Line F of the Provisional Ballot
 3.   Recap Sheet.
      Return ballots to the secure, sealed Provisional Ballot container.
 4.
          Only voted Ballots are to be placed in the secure, sealed Provisional
 Ballot container. Voter Registration Applications and certificates are to be placed in
                            the SALMON-colored envelope.
Section I
      Line A: Enter the number of provisional voter’s certificates contained in the binders.
 5.
      Line B: Enter the number of names listed on the provisional numbered list of voters.
 6.
      Line C: Enter the number on the stub of the last provisional ballot issued.
 7.
      Line D: Enter the number of spoiled provisional ballots.
 8.
Section II
      Line E: To determine the number of unused
 9.   ballots, enter the serial number of the next ballot that would have been issued on Line (a); Line
      (b) will be the number of the last ballot in the last pad of ballots (This number has been entered
      for you). To determine the number of unused ballots, subtract (a) from (b) and add “1”. Enter
      the resulting number on Line E.

        Line F: Total number of provisional ballots cast.
10.
        Line G: Total sum from box D, E, and F.
11.
        Line H: Total number of Provisional Ballot received from
12.     Superintendent.

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THIS RECAP SHEET NEEDS TO BE COMPLETED, DATED, AND SIGNED EVEN
             IF ZERO PROVISIONAL BALLOTS ARE CAST.
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Troubleshoot
                          You may experience technical difficulties during your time as a
                          poll worker.




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                                 This section will serve as your troubleshooting
                                 guide throughout the elections process.




                                 If you experience any difficulties that are not cov-
                                 ered in this guide, please contact your poll manager
                                 or local elections office.




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Troubleshoot
Before the Polls Open
What if nothing happens after I push the red
button to turn the unit on?

Check to see if the power cord is firmly attached and in
place on the side of the Touchscreen unit.

Also, check the power cord in the back left corner of the
Touchscreen unit. If there is still no response, call your
local elections office.


What if there is no power cord in the unit?

Prepare the unit for voting and call your local elections
office to get one delivered. The unit can run on backup battery power until the replacement cord ar-
rives.


What if a message comes up that says, “Please insert the election media or a security
key card”?

Make sure the memory card is fully inserted. With the security door open, push the memory card
firmly into the slot.


What if the unit fails to print a Zero Report?

Check that the printer lever is down (a gray “backward
L” shaped lever to the right of where the paper comes
out). If it is, check the paper roll and make sure it is
installed correctly. Turn the unit off and then turn
it back on. If it still doesn’t print, call your local elec-
tions office.



What if there is any other name of a precinct or
polling location on the ballot screen other than what you know is supposed to be on the
unit?

Turn the unit off and call your local elections office.



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                                        Troubleshoot
                                                                             The Electors List
1. If the Electors List indicates a Voter was issued or received an Absentee Ballot (“AB” in the corre-
sponding column) and the voter does not have the absentee ballot, instruct the voter to appear in
person at the Registrar’s Office to request to have their absentee ballot cancelled. They will receive
written authorization from the Registrar’s Office to vote in person, which they will bring back to the
poll. A registrar or deputy registrar can also handle this process at the polling place.




2. If the Electors List indicates a Voter was issued or received an Absentee Ballot (AB in any of the
columns) and voter has their intact absentee ballot, they may surrender the absentee ballot to the poll
official.

	      - Pursuant to O.C.G.A. § 21-2-388, write CANCELLED and the date and time across the 		
	      face of the absentee ballot and initial. Return the cancelled ballot with election supplies.

	      - Locate the voter’s name on ExpessPoll. Touch the voter’s name and follow the process of 	
	      removing an AB voter mark outlined in the ExpressPoll manual.

	      - Once the AB voter mark has been removed from ExpressPoll, touch the voter’s name and go 	
	      through the normal process of issuing a Voter Access Card and directing the voter to an open 	
	      voting unit.




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Troubleshoot
The Electors List
3. Person Not On Electors List.

	     - Double-check the spelling of the name or if name is hyphenated.

	     - After double-checking, use ExpressPoll’s statewide search to see if the voter is assigned to 	
	     another voting precinct.

	     - If this search is successful, provide the voter with the name and location of their assigned 	
	     precinct and give the voter the option to vote at that location or to vote provisionally. If after 	
	     using the statewide search no record of the voter is found, review the Supplemental Electors 	
	     List (if provided).

	     - A Supplemental Electors List contains names of voters added to the precinct Elector’s List 	
	     late, and thus not present on the list displayed by ExpressPoll.

	     - If a voter’s name is found on the Supplemental Electors List, use ExpressPoll to encode a Vot	
	     er Access Card for this voter and mark their name as voted on the Supplemental Electors List.

	     - Then record their name on a Supplemental Numbered List of Voters.

	     - If the voter’s name cannot be found on a Supplemental Electors List, notify the Poll Manager.

No person should be turned away. Always contact the Registrar’s Office.

No person should be written in the Electors List without authorization. See additional
information regarding Provisional Voting in this manual.

4. IDR is next to the Elector’s Name.

	     - This voter is required to provide current and valid identification prior to proceeding with the 	
	     registration process and voting in the precinct.

	     - This voter may show a utility bill, bank statement, government check, paycheck, or govern	
	     ment document that shows the name and address of the voter in addition to the six forms of 	
	     photo identification provided in O.C.G.A. § 21-2-417.

	     - If a voter listed as IDR cannot produce the appropriate form of identification the voter shall 	
	     be directed to the provisional voting station.




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                                        Troubleshoot
       Converting Touchscreen Unit in Election Mode to Card Creating Unit
The following are the steps suggested when needing to convert a TouchScreen unit in election mode
to a voter access card creating unit in the precinct. These steps would be followed if the ExpressPolls
within the precinct failed and were not able to create Voter Access Cards.

1.	    Select one of the TouchScreen voting units in the precinct.

2.	    Record the TouchScreen unit serial number and note on the DRE Recap sheet at what time 	
	      the unit was converted to a card creating unit.

3.	    Record on the DRE Recap sheet the public count on the unit as well as the system total, 		
	      located at the bottom of the unit’s screen.

4.	    Insert a green Supervisor Card and enter the password.

5.	    At next screen, touch the Create Voter Card button.

6.	    The Create Voter Access Card screen will be displayed.

7.	    To create a voter access card, select the precinct that matches the voter’s district combo by 	
	      touching the corresponding area.

8.	    If a primary scenario, now select the desired Party needed by touching the corresponding area.

9.	    Now touch the Create Card button located at the bottom right corner of the screen.

10.	   Insert a Voter Access Card into the TouchScreen unit.

11.	   The Voter Access Card will eject when it has written the desired information to the card.

12.	   Remove the Voter Access Card; it now contains the information needed to bring up the desired 	
	      ballot style on another TouchScreen unit.

13.	   When done using the unit as a card creating unit, touch the Close button located at the bottom 	
	      left corner of the screen.

14.	   Record the time the TouchScreen unit exited the Card Create screen and again record the Pub	
	      lic Count and System Total numbers on the DRE Recap sheet. These numbers should be un	
	      changed from when the unit was converted to a card creating unit.

15.	   DO NOT return the TouchScreen unit back voting mode.

16.	   The unit can now be turned off, or IF the polls have closed, the End Election button can be 	
	      touched and the normal closing procedures followed.
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Troubleshoot
The Voting Unit
Key will not open compartment doors.

Be sure that the key is inserted all the way.

The printout for the zero report (or the results report) wrapped around itself or be-
came jammed.

There is a gray “backward L” shaped lever to the right of where the paper comes out. Pull the lever
toward you to release the paper. Remove the end of the paper from behind and straighten. Push the
gray lever back to the horizontal position. You may reprint if necessary. If you need to feed the paper
back into the printer, release the gray lever. Insert paper under the black roller and feed until it ap-
pears through the top.

The screen has gotten dirty or smudged.

Use the cloth provided and ONLY the cloth provided to wipe the screen clean. Use the cloth dry - do
not put any liquid on the screen or the cloth.

What if the voter puts the Voter Access Card into the Touchscreen unit and “Invalid
Card” appears on the screen?

Check to see that the Voter Access Card was properly inserted with the gold medallion end inserted
first and face up. If the Voter Access Card was improperly inserted, have the voter insert the card
properly. If it was inserted properly, retrieve the Voter Access Card and activate another Voter Access
Card for the voter. Set that card aside with a note – DO NOT USE.

You made a mistake entering the password.

Press “Cancel.” The supervisor card will be ejected. Remove it and reinsert it. Enter the password
again. Remember the password will show up as asterisks.

You pressed OK to end the election but it does not go to the screen to print the results.

The screen should say “Turn unit off or press OK to resume.” Touch OK. Reinsert supervisor card and
continue with closing instructions beginning at the point where you enter the password. This time be
sure to touch “End Election” instead of OK.

What if the printer jams before Total Report was printed?

Let the printer finish printing. Un-jam the paper (see instructions on previous page) and reprint the
report.



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                                  Troubleshoot
                                                                The Voting Unit
What if a unit that has votes on it goes down during the day, but the unit will not
power-up to generate results tape?

CALL YOUR LOCAL ELECTIONS OFFICE BEFORE COMPLETELY CLOSING ALL UNITS.

What if a unit does not power up at the opening of the poll and has not been used at all
during the election, what do I do with the memory card that was in the unit?

CALL YOUR LOCAL ELECTIONS OFFICE BEFORE COMPLETELY CLOSING ALL UNITS.




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Troubleshoot
Common Questions
What if a voter does not have the Voter Access Card at the Exit Area?

Instruct the voter to return to the Touchscreen unit upon which he or she voted to retrieve the Voter
Access Card.

What if voter says the Voter Access Card was not returned to them?

Instruct the voter to return to the Touchscreen unit to ensure that the voter pressed the CAST BAL-
LOT button. The Voter Access Card will eject and can be returned.

What if a Voter Access Card is not ejected once a voter has cast the ballot?

Turn the unit off, and then turn it back on; the Voter Access Card should be ejected. If it does not,
lower the screen, turn the unit off, and call your local elections office.

What if a voter inserts a Voter Access Card and the unit rejects the card?

Re-program the Voter Access Card using the ExpressPoll and accompany voter to the unit. Wait until
you see ballot loading then leave.

What if the voter puts the Voter Access Card into the Touchscreen unit and “Invalid
Card” appears on the screen?

Check to see that the Voter Access Card was properly inserted with the gold medallion end inserted
first and face up. If the Voter Access Card was improperly inserted, have the voter insert it properly. If
it was inserted properly, retrieve the Voter Access Card and activate another Voter Access Card for the
voter. Set that Voter Access Card aside with a note - DO NOT USE.

What if the unit goes black (turns off) while someone is voting?

Lower the screen and check the plug and power cord. If the unit is properly plugged in, try turning it
on again. If it does not power on, take the unit out-of-service and call your local elections office. Then
issue the voter a new Voter Access Card and direct the voter to a working unit. If the voter did not
touch Cast Ballot, none of the votes were yet recorded.

What if the screen on a unit suddenly goes dark, whether there was a voter in the booth
at the time or not?

Check power cord first. If the unit is plugged in properly, try turning it on again. If it does not power
on, lower screen and call the local elections office.




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                                         Troubleshoot
                                                                     Commons Questions
What if power goes out in the polling location?

Power off half of your units and try to determine how long the outage will last. Notify your local elec-
tions office immediately so that they can monitor the situation. Continue to allow voters to vote on the
units that are operating on battery. If those units run out of power, close them and open the ones that
were turned off earlier to continue voting.

What if the instruction or voting screen on a unit is wavy or distorted?

Lower the screen, power it off and then back on. If the screen is still wavy, turn it off and call your
local elections office.

What if a voter walks out of the voting booth and leaves the Poll without touching the
cast ballot button?

The poll manager is to cancel the ballot following the directions for “Canceling A Voter’s Ballot.” DO
NOT TOUCH “CAST BALLOT.”

What if the audio does not work on the unit that the keypad and headphones are
plugged into?

Try adjusting the volume. If that does not work, cancel the ballot, connect the keypad and headphones
to another unit, and direct the voter to that unit. The voter’s Voter Access Card should still be activat-
ed since the Cast Ballot button was not touched on the other unit.




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Troubleshoot
Uncommon Situations During Registration & At the Touchscreen
Absentee Voter Appears at the Poll and Desires to Vote in Person:

IF VOTER HAS AN ABSENTEE BALLOT:

a)	    Write CANCELLED, the date and time, and initial the face of the absentee envelope. Return 	
	      the cancelled absentee ballot with election supplies.

b)	    Cross through the AB (or other mark according to county) opposite their name on the ELEC	
	      TOR’S LIST and mark them as voting.

c)	    Instruct the voter to then go through the normal procedures of voting.

IF THE VOTER DOES NOT HAVE THE ABSENTEE BALLOT:

Instruct the voter to appear in person at the Registrars Office to request to have the absentee ballot
cancelled. The voter will receive written authorization from the County Registrar to vote in person
which the voter must bring back to the poll.

Voter Has Moved within County:

a)	    Have voter complete the voter’s certificate.

b)	    Have voter complete a Change of Name and/or Address form in its entirety.
	      DO NOT ALLOW THE VOTER TO REMOVE THIS FORM FROM THE POLL.
	      IT MUST BE COMPLETED AT THE POLL.

c)	    Inform voter that he or she will be allowed to vote at this precinct for the current election and 	
	      any ensuing runoff.

d)	    Inform voter that the change of address will not be processed until after the date of the runoff. 	
	      A new precinct card will be mailed to the voter showing the name and location of his or her 	
	      new precinct and polling place.

Voter Moved From Another County:

Voter may not vote unless registered at least 30 days prior to the election. Or in the case of a special
election, no later than either the close of business on the fifth day after the date of the call for the
special primary or special election. Have voter complete the Voter Registration Form and include the
change of address. The Voter Registration Form will be processed when registration reopens.

Voter Changed Name:

a)	    Voter must complete the voter’s certificate, using his or her correct name.

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b)	    Voter must complete a Change of Name and/or Address section of Voter Registration Applica	
	      tion.

The voter card will not go in:

Make sure that the voter is inserting the card in the direction of the arrow. If that is not the problem,
try wiping the card off with the same cloth that is used on the screen.

Canceling a Ballot:

There may be times when it is necessary to cancel a voter’s ballot:
1.	   When a voter has been issued a voter access card encoded with the wrong ballot style, or
2.	   A voter decides not to cast a ballot after inserting a voter access card and has not yet touched 	
	     CAST BALLOT.

To cancel a voter’s ballot, take the following steps:

1.	    Ask the voter to deselect any voting choices he or she has made.
2.	    Press the page number for 10 to 20 seconds.
3.	    The Cancel Ballot page will appear. The screen will read: “To cancel your ballot press the Can	
	      cel button. To resume voting press the OK button.”
4.	    Press the Cancel button.
5.	    The Voter Access Card will be ejected.

If the wrong ballot style was encoded, the voter should then
return the Voter Access Card to the poll worker to have it en-
coded correctly.

When a ballot is canceled, the returned Voter Access Card will
still contain the encoded ballot style information. The ballot
style information was not erased because, Cast Ballot was not
touched.

Before you can use the cancelled Voter Access Card again, you
must first clear the card to erase the previous voter’s ballot
information.

The voter decided not to vote for anything after in-
serting the voter card.

Have the voter touch Cast Ballot on the last screen; or if the voter has left the booth without complet-
ing the ballot, the poll manager will cancel the ballot.

The voter card will not eject.

The voter must touch the Cast Ballot button for the card to eject.




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Poll Workers play a vital role in the electoral process. A Poll Worker is the last person a voter interacts
                        with before they enter the voting booth to cast a ballot.

                                Thank you for serving as a Poll Worker!

                 If you have any questions, please contact your county elections office.
